       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 1 of 67




      In the United States Court of Federal Claims
                                     No. 10-192T

                             (Filed: September 20, 2013)

*********************************** *
                                    *
SALEM FINANCIAL, INC.,              *           Tax Refund Suit; STARS Structured
                                    *           Transaction Between BB&T Bank and
                    Plaintiff,      *           Barclays Bank; Availability of Foreign
                                    *           Tax Credits From Payment of United
 v.                                 *           Kingdom Taxes; Deductions for Interest
                                    *           and Transaction Costs; Economic
UNITED STATES,                      *           Substance Doctrine Applied to Trust
                                    *           and Loan Components of Transaction;
                    Defendant.      *           Assessment of Penalties.
                                    *
*********************************** *

Rajiv Madan, with whom were John B. Magee, Christopher P. Bowers, Christopher P.
Murphy, Royce Tidwell, Nathan P. Wacker, and Nicholas L. Wilkins, Bingham
McCutchen LLP, Washington, D.C., and James C. McGrath and Deana K. El-
Mallawany, Bingham McCutchen LLP, Boston, Massachusetts, for Plaintiff.

Dennis M. Donohue, with whom were John L. Schoenecker, Raagnee Beri, Kari M.
Larson, and William E. Farrior, Trial Attorneys, and Alan S. Kline, Special Attorney,
Tax Division, U.S. Department of Justice, Washington, D.C., for Defendant.

                               OPINION AND ORDER

WHEELER, Judge.

       In this tax refund case, the Court must determine the proper tax treatment for an
unusually complex financial transaction known as STARS (“Structured Trust
Advantaged Repackaged Securities”). Plaintiff, Salem Financial, Inc. (“Salem”), is a
subsidiary of BB&T Corporation, a bank chartered under the laws of North Carolina.
Although many entities were involved in the STARS transaction, the real parties in
interest were BB&T Bank and Barclays Bank PLC, which is headquartered in the United
Kingdom (“U.K.”). The other entities were created or became involved to serve some
special purpose for the transaction.
        Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 2 of 67



       The BB&T STARS transaction was in effect for nearly five years, from August 1,
2002 through April 5, 2007. The purpose of the STARS transaction was to generate
large-scale foreign tax credits for a U.S. taxpayer, which could be used to enhance
revenue and reduce taxes in the United States. The amount at issue in this case, including
the potential assessment of taxpayer penalties, is $772,144,153.45. This amount is
comprised of the following: disallowed foreign tax credits ($498,161,951); disallowed
interest deductions ($74,551,947.40); the tax paid on “Bx” payments from Barclays to
BB&T ($84,033,228.20); disallowed transaction cost deductions ($2,630,125.05); and
penalties ($112,766,901.80).

        The complexities of the STARS transaction, including the concept of a Bx
payment, will become apparent below. Stripped to its essence, however, STARS called
for the U.S. taxpayer, in this case BB&T, to establish a trust containing approximately $6
billion in revenue-producing bank assets. The monthly revenue from the trust was then
cycled through a U.K. trustee, an act that served as a basis for U.K. taxation. Although
the revenue was immediately returned to BB&T’s trust, the assessment of U.K. taxes
generated U.K. tax credits that were shared 50/50 between Barclays and BB&T. A $1.5
billion loan from Barclays to BB&T also was part of the structured transaction, although
the loan was not necessary to the objective of generating foreign tax credits. The
Barclays monthly Bx payment to BB&T represented BB&T’s share of the tax credits, and
had the effect of reducing the interest cost of BB&T’s loan. The main question presented
is whether the STARS transaction had any purpose other than to generate tax savings,
and if not, whether penalties should be assessed against BB&T.1

       The parties provided a STARS tax tutorial presentation to the Court on February
13, 2013 before the trial began. The Court held 21 days of trial in Washington, D.C.
from March 4 through April 2, 2013. During the trial, the Court heard the testimony of
26 witnesses, of which thirteen were experts. The Court admitted deposition excerpts for
eleven additional witnesses, principally from those persons who reside outside the United
States or where the parties agreed that a deposition could substitute for relatively brief
testimony. The Court received in evidence approximately 1,250 exhibits during the trial.
The parties submitted post-trial findings of fact and memoranda of law on June 7, 2013,
and post-trial reply briefs on July 3, 2013. The Court heard closing arguments on July
30, 2013.

      There are different ways of looking at the BB&T STARS transaction, and the
Court has wrestled with the question of how best to analyze its various components. The
STARS trust component, where BB&T revenue momentarily is cycled through a U.K.

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  The acronym “STARS” is not particularly descriptive of the transaction at issue. There is no indication
of a loan in the acronym and there are no “repackaged securities” in the transaction. The evidence
suggests that the concept of STARS began as something different, and only grew to include a loan when
marketed to banks in the United States.

                                                   2
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 3 of 67



trustee to create U.K. taxes and foreign tax credits, and then is returned to BB&T, quite
clearly is an abusive tax avoidance scheme. The trust creates a series of instantaneous
circular cash flows starting and ending with BB&T where no economic activity has
occurred abroad to justify the assessment of a U.K. tax. While inarguably sophisticated
and creative, the trust purely and simply is a sham transaction accomplishing nothing
more than a redirection of cash flows that should have gone to the U.S. Treasury, but
instead are shared among BB&T, Barclays, and the U.K. Treasury. The Court finds that
the trust component of STARS lacks economic substance.

       However, the Court must consider whether the existence of Barclays’ $1.5 billion
loan to BB&T at favorable interest rates somehow provides the necessary economic
substance to salvage the STARS transaction. In analyzing this question, the Court notes
that the loan interest rate actually is higher than normal for BB&T until the Barclays’
rebate of U.K. taxes through the Bx payment comes into play. The Barclays’ Bx
payment each month from the sham trust transaction creates the unusually attractive
interest rates. Without the Bx payments, the Court is persuaded that BB&T would not
have entered into the STARS transaction. The loan transaction thus is substantially
influenced by the payments from the sham trust. The loan lacks economic reality where
the interest rate is so low that for nearly the first three years of the transaction, Barclays,
the lender, makes Bx payments to BB&T, the borrower, exceeding by millions the
interest payments due from BB&T to Barclays. An arrangement where a lender makes
payments to a borrower for the first three years of a loan surely would raise the eyebrows
of even an experienced financier.

       Regardless of whether the Court views the trust and the loan separately or together
as one integrated STARS transaction, the Court concludes that the entire arrangement
must be disregarded for lack of economic substance. Among the most telling evidence at
trial was the revelation that the amount of the loan was unrelated to the amount of the Bx
payments. That is, in the relevant formulas created for the STARS transaction, a change
in the loan amount does not have any effect on the Bx payment amount. Thus, rather
than being intricately linked together with the trust, the loan serves only to add a hoped-
for business purpose to the tax avoidance scheme. The Court cannot find economic
substance in a loan transaction that is so heavily driven by Bx payments from the sham
trust.

       For reasons that will be explained, the Court also finds that BB&T is liable for tax
penalties for its participation in the STARS transaction. The conduct of those persons
from BB&T, Barclays, KPMG, and the Sidley Austin law firm who were involved in this
and other transactions was nothing short of reprehensible. Perhaps the business
environment at the time was “everyone else is doing it, why don’t we?” Perhaps some of
those who participated simply were following direction from others. Nevertheless, the
professionals involved should have known better than to follow the STARS path, rife
with its conflicts of interest, questionable pro forma legal and accounting opinions, and a

                                              3
         Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 4 of 67



taxpayer with a seemingly insatiable appetite for tax avoidance. One of Defendant’s
experts, Dr. Michael Cragg, aptly stated that “enormous ingenuity was focused on
reducing U.S. tax revenues.” Cragg, Tr. 4687. After wading through the intricacies of
the STARS transaction, the Court shares Dr. Cragg’s view that “[t]he human effort, the
amount of creativity and overall effort that was put into this transaction . . . is a waste of
human potential.” Id.

    I.     Findings of Fact2

           A. Entities Involved in the BB&T STARS Transaction

        There are five business entities that each played an important role in this STARS
transaction: (1) BB&T, which established controlled subsidiaries to achieve certain
transaction-related objectives; (2) Barclays PLC, which developed the concept of STARS
and served as a counterparty in the STARS structure; (3) KPMG LLP, an international
accounting firm that assisted Barclays in marketing STARS in the United States, and
provided tax opinions to BB&T and other U.S. banks who chose to participate; (4) Sidley
Austin Brown & Wood LLP, a law firm which supplied tax opinions and legal services in
connection with STARS; and (5) PricewaterhouseCoopers LLP (“PwC”), an international
accounting firm that served as BB&T’s outside auditing firm beginning in 2002 and
examined the STARS transaction at BB&T’s request. The Court will briefly describe the
role of each of these entities below.

                   1. BB&T

       Branch Banking & Trust Corporation (“BB&T”) is a financial holding company
headquartered in Winston-Salem, North Carolina and incorporated in the State of North
Carolina. Stip. ¶ 1. BB&T conducted business primarily through its banking
subsidiaries, which during 2002 through 2007 included offices in North Carolina, South
Carolina, Virginia, Maryland, Georgia, West Virginia, Tennessee, Kentucky, Alabama,
Florida, and Washington, D.C. JX 209 at 358414. The largest subsidiary of BB&T is
Branch Banking and Trust Company (“BB&T Bank”), a state bank chartered under North
Carolina law. Stip. ¶ 3; JX 209 at 358414. BB&T is the oldest bank headquartered in
North Carolina, having been chartered in 1872. BB&T Corporation has two other
banking subsidiaries: (1) Branch Banking and Trust Company of South Carolina
(“BB&T-SC”), headquartered in Greenville, South Carolina; and (2) Branch Banking and
Trust Company of Virginia (“BB&T-VA”), headquartered in Richmond, Virginia. JX
209 at 358414.

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   In this opinion, the Court will cite to the evidentiary record as follows: February 8, 2013 Joint
Stipulations – Stip. ¶ __; Trial Testimony – Witness name, Tr. page; Joint Exhibits – JX __ at page;
Plaintiff’s Exhibits – PX __ at page; Defendant’s Exhibits __ USX __ at page; Deposition Transcripts –
Witness name, Dep. Tr. page; Demonstrative Exhibits – Demo. Ex. __.

                                                  4
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 5 of 67




        As of December 31, 2002, BB&T Bank operated 335 branches, and was the
second largest bank in North Carolina measured by deposit market share. Id. at 358415.
BB&T-SC operated 94 branches and was the third largest bank in South Carolina
measured by deposit market share. Id. BB&T-VA operated 241 branches, and was the
fourth largest bank in Virginia measured by deposit market share. Id. BB&T Bank’s
principal subsidiaries include: BB&T Leasing Corp., based in Charlotte, North Carolina,
which provides lease financing to commercial businesses; BB&T Investment Services,
Inc., also located in Charlotte, which offers non-deposit investment services including
annuities, mutual funds and discount brokerage services; BB&T Insurance Services, Inc.,
headquartered in Raleigh, North Carolina, a retail insurance broker offering property and
casualty, life and other insurance products through 71 agencies in eight states; and
Stanley, Hunt, DuPree & Rhine, Inc., headquartered in Greensboro, North Carolina and
Greenville, South Carolina, which offers group medical plans, insurance and investment
consulting, and actuarial services. Id.

      From 1987 to 2002, BB&T acquired 56 community banks and thrifts, 60 insurance
agencies, and 21 non-bank financial services providers. Id. at 358418. During 1995,
BB&T merged with Southern National Corporation, and retained the BB&T corporate
name for the merged entity. The transaction was described as a “merger of equals”
because each entity had assets of approximately $10 billion immediately prior to the
merger. Through this combination, the assets of the merged entity doubled. Johnson, Tr.
59; Goodrich, Tr. 383-84.

       As a financial holding company, BB&T is subject to regulation under the Bank
Holding Company Act of 1956, as amended, and the examination and reporting
requirements of the Board of Governors of the Federal Reserve Board. JX 209 at
358427. As state-chartered commercial banks, BB&T Bank, BB&T-SC and BB&T-VA
are subject to regulation, supervision, and examination by state bank regulatory
authorities in their respective home states. Stip. ¶¶ 3, 33. These authorities are the North
Carolina Commissioner of Banks, the South Carolina Commissioner of Banking, and the
Virginia State Corporation Commission’s Bureau of Financial Institutions, respectively.
Each of the state chartered banks also is subject to regulation, supervision, and
examination by the Federal Deposit Insurance Corporation. JX 209 at 358427.

      The following present or former BB&T officers and employees testified at trial:
(1) John Allison, former Chief Executive Officer of BB&T Corporation; (2) John
Watson, former Tax Director of BB&T Bank; (3) Donna Goodrich, former Deposits and
Corporate Funding Manager of BB&T and current senior executive vice president and
member of the executive management team; (4) Hal Johnson, former Corporate Finance
Manager of BB&T; (5) Ronald Monger, former overseer of the BB&T Bank Tax
Department and Manager of Shareholder Reporting; (6) Howard Hudson, in-house
counsel at BB&T; (7) Ida Marie Hyder, Balance Sheet Risk Manager for BB&T; and (8)

                                             5
          Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 6 of 67



Katherine Coffield, accounting employee responsible for day-to-day operations relating
to the STARS transaction.

                      2. Barclays

        Barclays Capital is the investment banking division of Barclays Bank PLC.
Abrahams Dep., 534-35. The Structured Capital Markets Group of Barclays Capital
developed the STARS-type of structured transaction. The Structured Capital Markets
Group (“SCM”) generally was responsible for executing complex structured transactions.
Id. at 16, 535. SCM’s objectives were to identify and create value enhancements through
accounting, legal, regulatory and tax opportunities, which in some cases involved
exploiting differences between tax systems in different countries. Sultan, Dep. 10, 533.

       Barclays Capital’s structured finance transactions required approval from the SCM
Approvals Committee, and were subject to review by two separate credit committees
based upon the dollar amount involved. Sultan, Dep. 135-36, 147-48; Abrahams, Dep.
19-20; PX 297 at 204218R. Barclays Capital operated the Barclays Capital Credit
Committee (“BCCC”) and Barclays Group (consisting of Barclays entities and business
units worldwide) operated its own Group Credit Committee (“GCC”), which had ultimate
credit authority for Barclays transactions. Abrahams, Dep. 579. When a transaction
exceeded a fixed size, it had to be submitted to the BCCC following approval by the
SCM Approvals Committee. Sultan, Dep. 147-48. For still larger transactions, BCCC
and GCC approvals were required. Sultan, Dep. 150-51, 158-59; Abrahams, Dep. 21.
For complex or structured transactions, any submission to the GCC had to include an
explanation of the transaction structure. Abrahams, Dep. 92. The BB&T STARS
transaction required GCC approval and an extensive review. Id. 601-02.

       Each year, Barclays Group engaged in a budgeting process under which the
Group’s total regulatory capital was allocated among its various business divisions,
including Barclays Capital. Id. 32. Barclays Capital in turn allocated regulatory capital
among its various business units, including SCM. Id. Each business division was
assigned a revenue target and charged with the duty of managing its transactions and
consumption of regulatory capital to produce an acceptable overall return. Id. 556.
Barclays recently disbanded SCM amid reports that it was a “tax avoidance unit.”
Peacock, Tr. 2270-71. Former U.K. Chancellor of the Exchequer Nigel Lawson called
SCM’s business “industrial scale” tax avoidance. Monger, Tr. 1220-23.

      The following Barclays personnel provided deposition testimony that the Court
admitted into evidence:3 (1) Iain Abrahams, an employee of the Barclays SCM division
responsible for managing risk of the structured transactions; (2) Sohail Sultan, a Barclays
SCM division employee involved in the initial conceptualization of STARS and its

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    These witnesses were unavailable to testify at trial because they reside outside of the United States.

                                                       6
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 7 of 67



development into a viable structure that could be promoted to North American banks as a
tax-advantaged financial product; (3) Alkis Ioannidis, a Barclays SCM division employee
who worked with Mr. Sultan on structured investments and finance; and (4) David
Williams, a Barclays Group Tax Department employee, responsible for overseeing the
compliance of Barclays Group with U.K. tax laws.

                3. KPMG

        KPMG is an international accounting firm, providing accounting and tax services
to its clients around the world. Beginning in 1999, KPMG partnered with Barclays to
promote the STARS structure in the United States, and to explain the mechanics of
STARS and its tax benefits to U.S. banks who might be interested in participating.
Sultan Dep. 691-92; USX 69, 335. Washington National Tax (“WNT”) is an office of
KPMG tax professionals in the United States who are organized based upon practice
specialty such as corporate tax, partnership tax, and international tax, among others.
Wilkerson, Tr. 1636. In 2002, the international tax group in WNT consisted of 30-35 tax
professionals. Id. 1640-41. KPMG introduced the STARS transaction to BB&T at a
January 17, 2002 meeting, using a slide show presentation to outline the various steps.
Monger, Tr. 970; Watson, Tr. 3425; USX 343. Except for some limited audit work that
KPMG performed on a BB&T mutual fund, BB&T was not a client of KPMG during
2002-2007. Monger, Tr. 1150.

       Robert Wilkerson was the only KPMG witness who testified at trial. Mr.
Wilkerson was a principal in the international tax group of the WNT office. David
Brockway, the partner in charge of the WNT office, was heavily involved in the
development of the STARS concept, and in drafting STARS tax opinions and promotion
materials. At the time of trial, Mr. Brockway worked for Plaintiff’s law firm, Bingham
McCutchen LLP, Wilkerson, Tr. 1865, but he did not testify.

                4. Sidley Austin Brown & Wood

      Sidley & Austin LLP was an international law firm that merged with Brown &
Wood in 2001 to become Sidley Austin Brown & Wood LLP. Chapman Tr. 2976, 3177.
At all relevant times before the merger, these two firms each maintained a tax
department. Id. 2982. Raymond J. Ruble was a partner in Brown & Wood’s tax
department, and then with Sidley Austin after the merger. USX 85. By 2000, Mr. Ruble
had built a significant tax practice based upon developing and promoting tax shelters,
which he called “structured tax products.” Id. He coordinated much of his work with
KPMG, Ernst & Young, Arthur Andersen, and BDO Seidman. Id. Mr. Ruble also
developed a relationship with Mr. Sultan of Barclays, with whom he worked to create and
promote the STARS transaction. Sultan, Dep. 38, 532. At the suggestion of Barclays
and KPMG, BB&T hired Sidley Austin, and specifically Mr. Ruble, to provide a tax
opinion for the BB&T STARS transaction. Hudson, Tr. 1518-19, 1545-47; Chapman, Tr.

                                          7
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 8 of 67



3062-63; JX 264; USX 436, 617. Mr. Ruble signed the May 7, 2002 engagement letter
where BB&T retained Sidley Austin as legal counsel. JX 264. BB&T had not previously
used Sidley Austin as its counsel. Hudson, Tr. 1549. BB&T received two Sidley Austin
opinions for STARS. The first was a U.S. tax opinion authored by Mr. Ruble. Id. at
1518-19. The second was a U.K. tax opinion. Monger, Tr. 1301-02, 1347-48; JX 287.

       Craig Chapman was the only Sidley Austin witness at trial, although the Court
accepted the deposition of Graeme Harrower into evidence as an unavailable witness who
resides in the U.K. Mr. Chapman is a partner in Sidley Austin’s New York office and is
co-head of the global securities practice. Chapman, Tr. 2974-76. He advised BB&T on
the STARS transaction alongside Mr. Ruble, as well as advising Bank of New York and
Sovereign Bank on their respective STARS transactions. Id. at 2974. Mr. Chapman,
however, is not a tax lawyer. Id. at 3048.

       Mr. Chapman’s work on BB&T’s STARS transaction began when Barclays
contacted Sidley Austin to ask if the law firm would represent BB&T on the transaction.
Chapman, Tr. 3008. Shortly thereafter, Mr. Ruble and Mr. Chapman traveled to
Winston-Salem, North Carolina to meet with BB&T’s Ronnie Monger, John Watson, and
Howard Hudson to discuss STARS. Chapman, Tr. 3008-10. BB&T then retained Sidley
Austin as its counsel for STARS. Id. at 3010. Mr. Chapman testified that he was the
relationship partner with BB&T, but Mr. Ruble signed the engagement letter with BB&T.
Id.; JX 264 at 902.

        Sidley Austin issued Mr. Ruble’s tax opinion letter on STARS to BB&T on April
4, 2003. Stip. ¶ 74; PX 174. In October 2003, Sidley Austin expelled Mr. Ruble from
the law firm due to serious irregularities in his tax shelter practice. Harrower, Dep. 253-
54. BB&T became aware that Mr. Ruble had been terminated from Sidley Austin.
Hudson, Tr. 1598; Watson, Tr. 3553-54. In November 2003, in hearings before the U.S.
Senate’s Permanent Subcommittee on Governmental Affairs, and with respect to the
Subcommittee’s investigation of “U.S. Tax Shelter Industry: the Role of Accountants,
Lawyers, and Financial Professionals,” Mr. Ruble refused to respond to questions, citing
his Fifth Amendment right not to answer. USX 1526 at 100-01; Wilkerson, Tr. 1849-50.

        In August 2005, the United States indicted Mr. Ruble and charged him with tax
evasion for “designing, implementing, and marketing fraudulent tax shelters.” United
States v. Pfaff, 619 F.3d 172, 173 (2d Cir. 2010). On December 17, 2008, a jury found
Mr. Ruble guilty on ten counts of attempting to evade or defeat U.S. tax laws, and he was
sentenced to 78 months of incarceration and two years of supervised release. He
currently is incarcerated in the United States penitentiary in Lewisburg, Pennsylvania.
Defendant deposed Mr. Ruble in this case, but in response to every question after
providing his name, Mr. Ruble asserted his Fifth Amendment right not to answer. Mr.
Ruble did not testify at trial. The STARS transactions were not among the tax shelters at
issue in Mr. Ruble’s criminal proceedings.

                                            8
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 9 of 67




       Prior to the start of trial, Plaintiff filed a motion in limine to preclude Defendant
from seeking adverse inferences against Plaintiff due to Mr. Ruble’s assertion of the Fifth
Amendment in response to all questions. Later, after trial, Plaintiff filed a motion to
reopen the trial record to obtain Mr. Ruble’s substantive testimony in response to written
questions previously posed to him in his deposition. On June 13, 2013, the Court issued
an order regarding the testimony of Raymond J. Ruble, denying Plaintiff’s motion to
reopen the trial record, but granting Plaintiff’s motion to preclude the application of an
adverse inference from Mr. Ruble’s assertion of his Fifth Amendment rights. The Court
reasoned that Mr. Ruble most likely had asserted the Fifth Amendment for personal
reasons, not because of a desire to protect Plaintiff or influence the outcome of this case.
See Order, June 13, 2013, Dkt. No. 213.

                 5. PwC

       In March 2002, after terminating Arthur Andersen & Company as its audit firm,
BB&T selected the PwC accounting firm to be its new outside auditor. Monger, Tr. 774-
75, 1151-53; USX 470. One of PwC’s first tasks was to evaluate the STARS transaction,
with a specific focus on the STARS tax reserve level. Monger, Tr. 776-77, 1161, 1190.
BB&T did not seek a separate legal opinion from PwC regarding the STARS transaction.
Monger, Tr. 945-47; JX 259 at 277. Ultimately, PwC arrived at a “less than should” level
of comfort that the Internal Revenue Service (“IRS”) would accept the STARS
transaction, but BB&T nonetheless decided to move ahead with the transaction. Boss,
Tr. 2098, 2100-02, 2117-18; USX 951A at 7183-84; JX 256 at 2802; USX 553, 601, 611.

       PwC expressed concerns that the STARS transaction did not comply with
technical provisions of the Internal Revenue Code. Monger, Tr. 782-85; PX 42; JX 259
at 278-85; USX 529. After PwC had articulated these concerns, Mr. Monger told PwC
on April 19, 2002 to focus strictly on the STARS tax reserve issue. Monger, Tr. 1257-58;
JX 259 at 277. If the reserve level was too high, STARS would not be profitable to
BB&T even on an after-tax basis, and BB&T would not go forward with the transaction.
Monger, Tr. 776-77, 1239-43, 1246.

       PwC representatives Rich Boss and Chip Harter testified at trial. Mr. Boss was an
international tax manager in PwC’s Charlotte office, and took the lead in coordinating
PwC’s national tax group and the audit team. Mr. Harter was an international tax
specialist in PwC’s Washington, D.C. office, and provided technical assistance on certain
STARS issues.

          B. BB&T’s Participation in Other Tax Shelters

       Aside from the STARS transaction, BB&T has had a number of experiences with
other transactions designed to reduce U.S. tax liabilities, some of which ultimately were

                                             9
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 10 of 67



disallowed for tax purposes. These transactions include lease-in-lease-out (“LILO”) and
sale-in-lease-out (“SILO”) tax shelters, employed during 1997 through 2001, a structured
transaction known as OTHELLO, which KPMG marketed to BB&T in 2002, and Project
Knight in 2007, another Barclays structured transaction similar to STARS.

                 1. SILO/LILO

        In 1997 through 2001, BB&T entered into many LILO transactions that were later
disallowed for tax purposes. PX 68 at 382688. In these transactions, BB&T acquired
leasehold interests in two convention centers and various equipment, and entered into
operating leases with foreign municipal corporations and entities. Id. BB&T entered into
similar SILO transactions that also were disallowed. Monger, Tr. 1269-70; PX 68 at
382688. A key objective of SILOs and LILOs was for the taxpayer to take advantage of
depreciation deductions on assets owned by public entities, without assuming any of the
ownership risks of these assets. See, e.g., Wells Fargo & Co. v. United States, 91 Fed.
Cl. 35 (2010) (denying tax deductions for public transit industry equipment where tax
shelter transactions lacked economic substance), aff’d, 641 F.3d 1319 (Fed. Cir. 2011).
These SILO and LILO tax shelters involved circular cash flows aimed at reducing taxes,
just as the STARS transaction does.

       In a February 2002 presentation to BB&T’s Board of Directors, the Tax
Management team described the benefits of these tax shelters as including deferred
income taxes of $635 million through December 31, 2001, and an additional $12.1
million in 2001 earnings. PX 29 at 361386; Monger, Tr. 1046-47. BB&T entered into
approximately 37 SILO or LILO transactions between June 1997 and July 2001. Watson,
Tr. 3515-16; PX 68 at 382688-89. The cumulative tax loss on the SILO/LILO
transactions for 1997 through 2001 was $1.4 billion. The projected losses for 2002,
2003, and 2004 were $343 million, $122 million, and $65 million respectively. PX 68 at
382687; Watson, Tr. 3516.

       As of February 2002, the IRS had completed its audit of BB&T’s 1996 through
1998 taxable years, and had determined that the SILO/LILO deductions claimed for those
years would be disallowed. Monger, Tr. 1047-48; PX 92 at 350335. BB&T was aware
that the IRS would be disallowing hundreds of millions of anticipated tax benefits from
the ongoing SILO and LILO transactions. Watson, Tr. 2886-87; Monger, Tr. 1049-50;
PX 29 at 361392.

       BB&T filed a tax refund action in the U.S. District Court for the Middle District of
North Carolina challenging the IRS’s disallowance of the tax benefits claimed on one of
its LILO transactions. On January 4, 2007, the district court granted summary judgment
in favor of the United States. BB&T Corp. v. United States, 2007 U.S. Dist. LEXIS 321
(M.D.N.C., Jan. 4, 2007). On appeal, the U.S. Court of Appeals for the Fourth Circuit
affirmed the district court’s grant of summary judgment. BB&T Corp. v. United States,

                                            10
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 11 of 67



523 F.3d 461 (4th Cir. 2008). BB&T’s management quickly understood the adverse
impact that these court decisions would have on BB&T’s continued participation in LILO
and SILO transactions. Watson, Tr. 3588-89. BB&T settled its other LILO and SILO
disputes after receiving the Fourth Circuit’s decision. Watson, Tr. 3517-18.

                  2. OTHELLO

       In January 2001, before the beginning of the STARS transaction, BB&T began
implementing another tax shelter promoted by KPMG called OTHELLO, which reduced
BB&T’s effective tax rate. Watson, Tr. 3510, 3530; Monger, Tr. 966; USX 941. BB&T
paid KPMG $4.5 million in fees for carrying out the OTHELLO transaction. Monger, Tr.
1178; USX 483 at 3. These fees, however, were linked to the favorable tax consequences
that BB&T anticipated from OTHELLO. A portion of KPMG’s fees was deferred until
the tax year when OTHELLO closed, or until the IRS examined the transaction. Monger,
Tr. 1181-83; USX 485. Deferring these fees ensured that KPMG would not be fully
compensated until OTHELLO’s tax risk had been determined. Id. BB&T considered a
similar risk-sharing arrangement with KPMG on the STARS transaction, deferring a
portion of KPMG’s fees until a later period. Monger, Tr. 1177-79; USX 485. The
OTHELLO and STARS transactions had similar characteristics. Wilkerson, Tr. 1845-46;
Monger, Tr. 1307; USX 950 at 3; USX 634. The November 2003 Senate Hearings on tax
shelters characterized OTHELLO as “a potentially abusive tax shelter.” USX 1526 at
193, 228.

                  3. Project Knight

       Near the termination of STARS, BB&T entered into another tax shelter with
Barclays known as Project Knight. Johnson, Tr. 253-54; PX 260 at 259802. In January
2007, BB&T anticipated that Project Knight would involve receiving a $4 billion loan
from Barclays for three years at a floating interest rate of LIBOR4 minus 40 basis points.
USX 1944 at 2. BB&T believed that Project Knight would produce a $12 million tax
benefit each year. Id.

       Project Knight had many features “very similar” to STARS. Johnson, Tr. 255-56.
Like STARS, Project Knight involved setting up an entity structured as a joint investment
between BB&T and Barclays. Id. While the joint investment in STARS was a trust, in
Project Knight it was a partnership. Id. Just as in STARS, Project Knight involved
placing assets in the structure to generate income – the same auto loan assets used in
STARS. Johnson, Tr. 255, 352. Project Knight involved a forward sale agreement for
undoing ownership interests at the end of the transaction. Johnson, Tr. 255. Project
Knight incorporated a swap instrument designed to turn a fixed-rate interest rate

4
  “LIBOR” refers to the London Inter-Bank Offer Rate, and is comparable to the “prime rate” in the
United States. A “basis point” is 1/100 of a percentage point.

                                               11
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 12 of 67



obligation into a floating interest obligation. Id. Project Knight involved a purported
sub-LIBOR loan from Barclays to BB&T, which has been characterized as a sharing of
Barclays’ U.K. tax benefits. Johnson, Tr. 258; USX 1944 at 2. BB&T and Barclays
could unilaterally terminate Project Knight early for any reason. Johnson, Tr. 324.

       The termination provisions in Project Knight were important to the parties. BB&T
contemplated that the IRS might challenge Project Knight, and it planned to terminate the
transaction if this occurred. USX 1944 at 3. BB&T also expected that Barclays would
terminate Project Knight early if it did not receive its planned tax benefits, and BB&T
would do the same if its tax benefits were not forthcoming. Johnson, Tr. 286-88; USX
1944 at 3.

       BB&T and Barclays terminated Project Knight in 2008. Watson, Tr. 2876.
Barclays had come under mounting media attention regarding its role in U.S. banks’
participation in foreign tax shelters. On March 29, 2009, the U.K. newspaper The
Guardian reported “U.S. banks pull out with 11 billion Barclays tax avoidance
partnerships: Bank of America and BB&T repay loans early, Project Knight meant to
generate 100 million next year.” Johnson, Tr. 332-36. The Guardian also referred to
Barclays’ Structured Capital Markets unit as “a tax avoidance factory” and reported that
in 2009, whistleblowers uncovered SCM’s “dark arts practice” that “created multibillion
pound deals, which routed vast amounts of money in elaborate circles through offshore
networks with the prime purpose of magic-ing profits out of tax credits.” Peacock, Tr.
2270-71; Monger, Tr. 1220-23. As noted above, Barclays disbanded its SCM unit in the
wake of negative publicity.

          C. Design and Development of STARS

       BB&T’s STARS transaction does not stand in isolation. Barclays and KPMG
principally developed the concept of STARS over a long-term period to achieve tax
benefits. Barclays and KPMG marketed STARS to bank and non-bank businesses in the
United States, and ultimately executed STARS transactions with six U.S. banks,
including BB&T. The evolution of the STARS structure, and the near identical method
of implementation with the six U.S. banks, sheds light on the purpose of STARS and its
dependence on a series of tax-motivated steps.

                 1. Developers

       Sohail Sultan of Barclays’ SCM division led the development of STARS. Sultan,
Dep. 73. Mr. Sultan also marketed other SCM products to U.S. financial institutions and
remained engaged in the execution of STARS deals as a transaction team leader. Id.
Originally, STARS was a strategy to enhance the investment yield of large, cash-rich
corporations in the United States, Canada, and Europe. Id. at 25. Mr. Sultan marketed
the early iteration of STARS to Microsoft, AIG, Intel, and Prudential. Id. 187-88. In

                                           12
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 13 of 67



general, these entities responded that the yield enhancement was not attractive enough to
justify the level of complexity and potential risks. Id. With this feedback, Barclays
decided to retain the structural components from the early iterations of STARS and
combine them with a financing vehicle that might be attractive to banks. Id. at 60-62.

       The London law firm of Freshfields, Bruckhaus, Deringer LLP assisted Mr. Sultan
with the development of the STARS structure. Mark Watterson of Freshfields analyzed
the U.K. tax treatment of STARS and provided advice to Barclays on the tax effects of
including the unit trust and the U.K. trustee, both of which were central components of
STARS. Watterson, Dep. 18, 29-33. Mr. Watterson conveyed his views of U.K. tax
treatment to KPMG’s Mr. Brockway for use in determining how STARS might be
characterized from a U.S. tax perspective. Id. at 123-24.

       During the period when Barclays developed STARS, Barclays had an agreement
with the U.K. taxing authority, Her Majesty’s Revenue & Customs (“HMRC”), under
which all newly-closed SCM transactions would be submitted for review at the end of the
year to determine whether they would be challenged under U.K. tax law. Williams, Dep.
114-17. This process allowed Barclays’ Tax Group to explain the complex structures and
draw HMRC’s attention to potential nuances that might not otherwise be apparent. Id. at
121-22.

        In 2001 and 2002, John Mawson served as the U.K. Principal Inspector of Taxes
responsible for reviewing the tax affairs of the Barclays Group. Id. at 116-17. Starting in
August 2001, Messrs. Williams and Mawson engaged in discussions regarding the first
STARS deal, the First Union Bank transaction referred to as Monument Street Funding.
Id. at 113-14; USX 358. In a letter dated April 16, 2002, Mr. Williams stated “[i]n
respect of both First Union and Bank of New York transactions this leads to additional
U.K. corporate tax payable by the Barclays Group as a result of the transaction of £5.7m
in 2001 and approximately 30.2m in 2002 (please see schedule at Point 4 below.)” USX
557 at 2-4; Zailer Tr. 2696-97. Mr. Watterson of Freshfields observed “if the U.K.
Revenue could see that these transactions [STARS] were tax additive to the Revenue or
to the Exchequer then they’d probably be less minded to seek to challenge the result that
Barclays was looking to achieve.” Watterson, Dep. 107-08. In reality, however,
Barclays did not pay any U.K. corporate tax on either of these STARS transactions.
Zailer, Tr. 2697. The amounts listed in Mr. Williams’ April 16, 2002 letter actually were
paid by First Union and the Bank of New York, through the trustees of their Delaware
trusts. Id. at 2698, 2702. This letter makes it appear that Barclays is paying a U.K.
corporate tax, but in fact Barclays was receiving tax benefits while paying no U.K. tax at
all. Zailer, Tr. 2700-05; Demo. Ex. 12-13; USX 557.

       Through collaboration with Barclays, KPMG specialized in developing
transactions that took advantage of differences between tax systems, including STARS.
Wilkerson, Tr. 1779-80. The initial STARS development focus was on achieving tax

                                            13
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 14 of 67



objectives, including U.K. tax objectives. Id. at 1757. For the U.S. participants, the
primary objective was to claim foreign tax credits, while characterizing the transaction as
a financing. Id. 1757, 1774. Without the foreign tax credits, the STARS transaction
would not be profitable to the U.S. taxpayer. Id. at 1760-61. In order to characterize
STARS as involving a loan, KPMG wanted to avoid “negative interest” and to assure that
the U.S. participant receiving the loan would make at least some positive interest
payments. Id. at 1759. However, in the BB&T STARS deal, the first 35 months of the
transaction involved payments from Barclays (as lender) to BB&T (as borrower), and no
payments going the other way. Wilkerson, Tr. 1759; Kawaller, Tr. 4901-02; Demo. Ex.
18; USX 1994 at 22.

        Mr. Brockway of KPMG performed extensive development work on STARS to
enable Barclays and KPMG to market the transaction. USX 192 at 3. In the first half of
2000, nearly all of KPMG’s time devoted to STARS consisted of Mr. Brockway’s
services. Id. Mr. Wilkerson joined Mr. Brockway in analyzing technical tax issues
relating to the First Union transaction, including the important question of whether First
Union would be allowed to claim foreign tax credits under Internal Revenue Code
(“IRC”) § 901. Wilkerson, Tr. 1679-80. Mr. Wilkerson also analyzed the possible use of
deconsolidation to assure that First Union could fully utilize the foreign tax credits, an
issue that also arose in the BB&T STARS transaction. Id. at 1760.

       In developing STARS, KPMG treated Barclays as its client. Wilkerson, Tr. 1755-
56; Sultan Dep. 655; USX 957 at 1-3. Under a revised fee arrangement, KPMG’s
accrued time was folded into the value based fee, and thus made contingent on the
closing of a STARS transaction. USX 192 at 3. KPMG understood that Barclays would
pay a larger fee on STARS transactions where KPMG had identified the client or played
an important role in Barclays “landing the engagement.” USX 108 at 2. KPMG initially
expected a $1 million fee from Barclays if the first STARS transaction (First Union)
successfully closed. Wilkerson, Tr. 1763; USX 108 at 1. Instead, Barclays paid KPMG
$4 million for the First Union STARS deal, and more fees were promised if other STARS
transactions could be closed. Wilkerson, Tr. 1763-65; USX 108 at 2.

       In light of the fee structure, KPMG encouraged its professionals to promote
STARS and provided incentives for them to do so. Wilkerson, Tr. 1776; USX 342. Mr.
Wilkerson personally met with prospects, including SunTrust Bank, Regions Bank, and
Key Bank to present STARS and explain its U.S. tax benefits. Wilkerson, Tr. 1769-71.
Mr. Wilkerson conveyed his view that the transaction would achieve its intended U.S. tax
objectives by generating foreign tax credits in the United States while allowing the
structure to be characterized as a financing. Id. 1773-74. KPMG hoped that it could
realize more fees through the execution of additional STARS transactions. Id. at 1772.
The relationship between Barclays and KPMG was so close that Mr. Brockway even
asked for input from Mr. Sultan on setting compensation levels for KPMG professionals
working on STARS. Wilkerson, Tr. 1792; USX 957 at 3. Mr. Sultan suggested

                                            14
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 15 of 67



compensation of approximately $1 million for each of the KPMG persons with whom
Barclays worked. USX 957 at 2.

                 2. Early Iterations of STARS

       STARS was not always characterized as “low cost financing.” Sultan, Dep. 188;
PX 312 at 224352R. In 1999, STARS conceptually began as an investment-based
transaction or an “asset play” involving a U.K. unit trust that would “generate an
enhanced return for a U.S. investor by way of a Stock Lending Arrangement (SLA).”
Sultan, Dep. 188; USX 69 at 1. The transaction would “enhance[] the yield on an
existing portfolio of assets held by a U.S. counterparty, generated by allowing Barclays to
claim the taxes paid on the income accrued on the portfolio of underlying assets through
a U.K. unauthorised trust.” PX 312 at 224352R. The enhanced yield would be
accomplished through a stock loan from the U.S. participant to Barclays with the U.S.
participant receiving lending fees that represented a split of the tax benefits. Id.

       This “asset play” investment version of STARS did not have a loan component
going from Barclays to the U.S. participant. Abrahams, Dep. 263-64; USX 89.
However, a STARS transaction did not need a loan component to accomplish its tax
objectives. Abrahams, Dep. 742. From Barclays’ standpoint, a STARS deal only needed
a U.S. counterparty to help Barclays create a purported trading loss that formed part of
the transaction’s U.K. benefit for Barclays. Id. at 742-44, 859-62. Without a
counterparty to create the appearance of some financial activity, Barclays may not have
been able to deduct the purported loss for U.K. tax purposes. Id.

       Barclays marketed the investment version of STARS to well-known corporations,
AIG, Microsoft, Intel, and Prudential. Sultan, Dep. 188. Barclays targeted these entities
because they were viewed as having excess assets that could be used to move revenue
through the transaction structure. Id. This version of STARS had no loan component.
Mr. Sultan found, for example, that Microsoft was not plausibly interested in a $1.5
billion loan. Id. at 188-89. By lending to a corporation such as Microsoft, Barclays
would need to maintain 100 percent of its regulatory capital requirements associated with
such a loan, as opposed to a fractional amount for bank lending. Id. at 189-91.
Ultimately, none of the targeted U.S. companies chose to participate. Id. at 194; James,
Tr. 3832. STARS therefore had to evolve by adding a loan component to the transaction,
which Barclays was able to sell to six banks.

        Barclays would have preferred to execute STARS without a loan to the U.S.
participant, because the loan feature required Barclays to commit capital to the
transaction. Id. at 209-10. By adding a cash loan, Barclays was required to retain more
regulatory capital. Id. at 209-211. However, the economic benefit to the U.S. participant
arising from its foreign tax credits remained the same for both the investment version and
the later loan version of STARS. Sultan, Dep. 349-50; USX 102.

                                            15
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 16 of 67




                 3. Prior STARS Transactions With First Union and Bank of New York

       Barclays entered into six STARS transactions with U.S. financial institutions
between 2001 and 2005: First Union National Bank in June 2001, Bank of New York in
November 2001, BB&T in August 2002, Wells Fargo in November 2002, Sovereign
Bank in November 2003, and Washington Mutual in June 2005. PX 297 at 204207R; JX
2; USX 1502; USX 2095; USX 2210 at 41, n.97; USX 2212 at 121. Two of these
transactions, First Union and Bank of New York, closed before the BB&T STARS
transaction. Barclays itself has described First Union as “very similar” to BB&T
STARS. PX 297 at 204207R.

        The First Union STARS transaction involved financing in the amount of $2.5
billion and a commitment of approximately $7 billion in First Union assets to the STARS
trust structure. Ioannidis, Dep. 150; Sultan, Dep. 193; USX 358 at 2; USX 1389. The
First Union STARS transaction currently is in litigation. As successor in interest to First
Union through its merger with Wachovia in 2001 and through its acquisition of the
merged entity, Wells Fargo filed suit on August 13, 2012 challenging the IRS tax
treatment of the First Union STARS transaction. The litigation is ongoing. Monument
St. Funding Trust, Centurion Funding, Inc., Tax Matters Partner v. Comm’r, Dkt. No.
20216-12 (U.S. Tax Court, 2012).

       Bank of New York (“BNY”) was the second U.S. financial institution to
implement a STARS transaction with Barclays, on November 9, 2001. Chapman, Tr.
3008. At that time, BNY was engaged in the banking business and had worldwide
banking operations. Bank of New York Mellon Corp. v. Comm’r, 140 T.C. 15, 17
(2013). KPMG introduced STARS to BNY during discussions with the bank’s tax
director. Id. Thereafter, KPMG and Barclays presented STARS to BNY through various
meetings, discussions, promotional materials and correspondence. Id. Barclays
described BNY STARS as “substantially similar” and “very similar” to BB&T STARS.
PX 297 at 20407R, 204214R. The transaction involved a $1.5 billion financing and a
commitment of more than $7.8 billion in BNY assets to the STARS trust structure. Bank
of New York, 140 T.C. at 20-21.

       The IRS challenged BNY STARS, and the matter was tried in the U.S. Tax Court
in April 2012. The Tax Court issued an opinion on February 11, 2013, finding in favor of
the Government. The Tax Court concluded:

             In sum, the STARS transaction (bifurcated or integrated)
             lacks economic substance and Congress did not otherwise
             intend to provide foreign tax credits for transactions such as
             STARS. Accordingly, the STARS transaction is invalid for


                                            16
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 17 of 67



             Federal tax purposes and the foreign tax credits and expense
             deductions claimed in connection with it are disallowed.

Id. at 48. The Tax Court emphasized:

             The STARS transaction was structured to meet the relevant
             requirements in the Code and the regulations for claiming the
             disputed foreign tax credits. The STARS transaction in
             essence, however, was an elaborate series of pre-arranged
             steps designed as a subterfuge for generating, monetizing and
             transferring the value of foreign tax credits among the
             STARS participants.

Id. at 31. In addition, the Tax Court found that “the activities or transactions that the
STARS structure was used to engage in did not provide a reasonable opportunity for
economic profit. The STARS structure’s main activity was to circulate income to itself
and Barclays . . . . These circular cash flows or offsetting payments had no non-tax
economic effect.” Id. at 35-36.

          D. Marketing of STARS to BB&T

                 1. Initial Contact with KPMG

       In November 2001, Mr. Monger received a telephone call from Maurice Beshlian
of Barclays, in which Mr. Beshlian asked Mr. Monger to put him in contact with BB&T’s
corporate tax director regarding “tax implications” of the STARS transaction. Monger,
Tr. 958-63. Thereafter, on November 20, 2001, Messrs. Beshlian and Sultan of Barclays
participated in a telephone call with Mr. Watson, the head of BB&T’s Tax Department,
in which they “discussed in some detail [BB&T’s] appetite to do a [foreign tax credit]
trade.” USX 308. In the follow-up correspondence, they agreed to meet in January 2002
to discuss the STARS transaction and the tax issues involved. Id.; Monger, Tr. 625, 632.

       On January 17, 2002, Mr. Monger and Mr. Watson met with three tax specialists
from KPMG – David Brawley, Charles Butler, and David Schenck – who made a
presentation to BB&T regarding the STARS transaction. Watson, Tr. 3423-35; Monger,
Tr. 966; JX 241. At the time of this meeting, both Mr. Watson and Mr. Monger were
aware that KPMG was intricately involved in the development of the STARS transaction
and that KPMG had participated in implementing two prior STARS transactions with
U.S. banks. Monger, Tr. 632; Watson, Tr. 3441. Around this time, BB&T Chief
Financial Officer Scott Reed tasked Mr. Monger with coordinating BB&T’s efforts on
the STARS transaction. Monger, Tr. 1045.



                                           17
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 18 of 67



        In its presentation to BB&T, KPMG proposed a trust asset base of $3.5 billion and
a proposed loan of $1 billion. USX 343; JX 241; Monger, Tr. 969-71; Watson, Tr. 3423-
24. KPMG explained that BB&T’s benefit from STARS would be “based on the U.K.
tax credit” and that the greater the amount of Barclays’ tax credits, the greater the benefit
to BB&T. Monger, Tr. 973-75; Watson, Tr. 3430. KPMG also stated that BB&T’s
interest charge on the loan would be reduced by half of the U.K. tax paid by the STARS
trust. Watson, Tr. 3427-28. Mr. Monger understood that, as a result of the STARS
transaction, Barclays would not receive any fee from BB&T, but rather would receive “a
split of tax credits.” USX 343; JX 241; Monger, Tr. 992-93. KPMG further explained
that BB&T would never lose control of the assets it committed to STARS, nor would it
lose control of the income from those assets. Monger, Tr. 978-79. During the meeting,
KPMG explained that the Class C Unit distribution amounts would be paid into an
account held by BB&T in Barclays’ name, and that all money paid into that account
would simultaneously be returned to the trust. Although the account was held in
Barclays’ name, Barclays would have no control over that account, and only BB&T
employees would make transfers in and out of the account. Monger, Tr. 988-89. KPMG
also noted that BB&T might have an “overall foreign loss” across the consolidated
BB&T group, which would limit or prevent BB&T’s ability to claim foreign tax credits
for the U.K. taxes paid by the trust. JX 241; USX 343; Monger, Tr. 993-94. In the event
of such a loss, KPMG suggested that BB&T may be able to avoid limitations on claiming
foreign tax credits by deconsolidating a special purpose entity BB&T employed to
implement STARS. Monger, Tr. 993-94.

       After this initial meeting, on January 28, 2002 Mr. Butler of KPMG sent an email
to Mr. Watson and Mr. Monger. USX 366; Watson, Tr. 3432. In encouraging BB&T to
implement the transaction, Mr. Butler referred to STARS as one of few “tax related
opportunities to achieve significant above the line savings.” USX 366.. Mr. Butler also
addressed the issue of a potential overall foreign loss, stating that “we also need to
confirm whether, as a result of LILO investments, BB&T has an overall foreign loss for
purposes of calculating the foreign tax credit.” USX 366. On February 20, 2002, Mr.
Butler sent a follow-up email, in which he stated: “A deconsolidation would allow the
full foreign tax credit [from STARS] to be utilized for book and tax purposes,
notwithstanding the existence (to be confirmed) of foreign losses from the LILO
transactions.” USX 402; Watson, Tr. 3449-51. The proposed deconsolidation would be
accomplished by issuing preferred stock in the entity to be deconsolidated; that preferred
stock would need to transfer 20 percent or more of the voting interest in the entity to the
preferred stockholder. Watson, Tr. 3451-52; USX 402. BB&T eventually concluded that
it “would be better off going ahead and doing the deconsolidation.” Monger, Tr. 999-
1000.




                                             18
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 19 of 67



                 2. Communications with Barclays

        Also in January 2002, Mr. Monger met with Messrs. Jenkins, Sultan, and Beshlian
of Barclays regarding STARS. Id. at 1003-04. The Barclays representatives described
the STARS transaction as applicable to BB&T, which contemplated a $1.5 billion loan to
BB&T and a benefit of $44 million in the first year alone, based on the 50/50 split of the
trust’s U.K. tax liability of $88 million. USX 340; Monger, Tr. 1010-11. Barclays
characterized this benefit as a 293-basis-point reduction in BB&T’s interest rate on the
loan, which it calculated by dividing the $44 million benefit to BB&T by the $1.5 billion
loan amount to BB&T. USX 340; Monger, Tr. 1010-11.

       On February 4, 2002, Mr. Ioannidis of Barclays sent Mr. Monger a clarifying
email regarding the STARS projection for BB&T. JX 242; Monger, Tr. 1012-13. Mr.
Ioannidis explained Barclays’ belief that STARS could be structured in a way that BB&T
could avoid paying North Carolina state taxes on the trust income. JX 242. Mr.
Ioannidis also clarified that “[a]ll the income received by Barclays on the [Class C Units]
will be mandatorily reinvested into additional consideration for these units. Thus, the
asset pool will increase each year, effectively generating additional income. . . . Over the
5 years, this accretion is expected to result in $22 million of additional benefits for
BB&T.” Id. Further, Mr. Ioannidis explained that BB&T’s monthly benefits from
STARS would be subject to an adjustment as a result of “timing delays in [Barclays]
obtaining tax credits,” but noted that “BB&T will obtain the full benefit of timing delays
in paying income taxes in the Trust.” Id.

       On February 14, 2002, Mr. Ioannidis sent Mr. Monger a memorandum entitled
“Project STARS Q&A.” JX 243. In this memorandum, Mr. Ioannidis revisited the
possibility of BB&T avoiding state taxation. Id. He explained, “[i]f InvestCo is formed
in the appropriate State and if structured correctly,” then BB&T could avoid paying state
income taxes on income generated by the assets committed to STARS. Id. Mr. Ioannidis
also discussed the possibility of withholding taxes, explaining that “[f]ollowing the recent
changes to the U.K./U.S. double transaction treaty,” any interest payments in the
transaction deemed “contingent” could be subjected to a 20 percent withholding tax. Id.
He further explained that to avoid any risk of withholding, the parties needed to agree on
fixed pre-determined amounts for the monthly payments from Barclays to BB&T under
the Zero Coupon Swap. Id.

       These monthly benefits that BB&T received from the STARS transaction were
referred to as the Bx. JX 35; Monger, Tr. 1017-19. As described in the Formulae Letter,
“the bx is equal to 51 percent of the tax credits received by Barclays on the Class C Unit.”
JX 35. Mr. Monger understood the Bx to be a sharing agreement between Barclays and
BB&T, in which Barclays would reduce BB&T’s interest rate expenses based on the tax
credit Barclays received. Monger, Tr. 1110-11. Contemporaneously, Mr. Monger
referred to the Bx payment as a “[r]ebate from Barclays.” USX 437; USX 465.

                                            19
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 20 of 67




       To protect itself and ensure that the taxes BB&T paid to the STARS trust were
sufficient to match the necessary predetermined Bx payments, Barclays required an
indemnity provision. JX 23; Monger, Tr. 1203-04. The “Expected Class C Unit
Distributions” were also predetermined, as they were calculated to coordinate with the
predetermined Bx payments. JX 23; Monger, Tr. 1204-05. The combination of these
predetermined amounts and distributions, along with the indemnity provision, led Mr.
Ioannidis to conclude that “[t]here will not be any withholding tax in the STARS
transaction.” JX 243.

       In mid-February, Mr. Sultan sent a memorandum to BB&T entitled “STARS
Benefit Analysis,” which Mr. Monger received and reviewed. JX 244. Mr. Sultan
explained that “the benefits [from STARS] are driven from the asset side and asset yield
only.” Id. In this memorandum, Mr. Sultan also discussed the calculation of benefits that
STARS would generate, noting that “[t]he benefit under STARS arises from the ability of
both parties to obtain credits for the taxes paid in the Trust. Thus, the benefits to both
BB&T and Barclays are easy to calculate and are equal to 50% of these taxes for each
party.” JX 244; Monger, Tr. 1032-34. In describing a sample accounting of the potential
benefits to BB&T, Mr. Sultan stated that “[t]o calculate BB&T’s real benefit from
STARS, we have to deduct the [Trust] Asset Income (which would be received by BB&T
anyway).” JX 244.

        Mr. Monger understood Mr. Sultan’s statements to mean that the benefits of the
transaction were driven by the size of the trust asset pool and the yield on those assets.
Monger, Tr. 1031-32. Nonetheless, Mr. Monger conducted several of his own
calculations regarding BB&T’s potential economic benefits from STARS. Id. at 1037-
39; USX 437. In his calculations, Mr. Monger assumed that the use of $1.5 billion of
loan proceeds from STARS and the use of $1.5 billion of loan proceeds from an alternate
borrowing would yield the same amount, and thus would cancel out. Monger, Tr. 1038-
39. He did not include the potential yield on use of the loan proceeds as an element of
profit in his analysis. Id.

        During this information exchange between BB&T and Barclays, BB&T began to
hear that another U.S. bank had declined to enter into a STARS transaction. On or about
February 18, 2002, personnel in BB&T’s funding department informed Mr. Watson that
SunTrust had rejected entering into a STARS transaction because of potential tax risk.
Watson, Tr. 2857, 3443-46; USX 396. Mike Blevins of BB&T also communicated to
Mr. Monger information received from SunTrust employees, that “[t]hey didn’t pursue
the transaction because of their concern over long-term tax implications, and the status of
their foreign tax credit.” USX 388; Monger, Tr. 678, 681-82. Mr. Monger relayed this
information to Mr. Watson and Mr. Reed. Monger, Tr. 682-83; USX 388. Mr. Watson
then investigated this information by calling Deborah Jameson, the tax director of
SunTrust. Watson, Tr. 2856-58. Mr. Watson testified that in their correspondence, Ms.

                                            20
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 21 of 67



Jameson told him that she had “liked” the transaction, but did not have the time to
conduct proper due diligence on it. Id. at 2858.

                   3. Discussions Regarding STARS Tax Risks

       On February 26, 2002, Mr. Reed gave a presentation to BB&T Corporation’s
Board of Directors, in which he informed the Board of the potential STARS transaction.
JX 245; PX 29. Mr. Reed described the expected benefit to BB&T from STARS as “one-
half of UK tax credit received by investor [Barclays] for UK income taxes paid by
Trust.”5 PX 29; Monger, Tr. 1045-46, 1051-52; Watson, Tr. 3452-55. Two days later,
on February 28, 2002, Mr. Ioannidis sent Mr. Monger an email showing Barclays’
analysis and allocation of BB&T tax risks as a result of STARS. USX 453; Monger, Tr.
1145-48. Under Barclays’ allocation of tax risk, “the US tax repo risk falls with BB&T
and the risk of Barclays getting the tax credits falls with Barclays.” USX 453. However,
the risk that the STARS trust would be found either not a tax-resident or a collective
investment scheme in the U.K. would be shared between Barclays and BB&T. Id.

       From the outset, in BB&T’s and KPMG’s discussions regarding STARS, KPMG
informed BB&T that the transaction involved tax risks. Watson, Tr. 3461. During the
course of multiple meetings and correspondence among BB&T, Barclays, and KPMG,
the potential downside risks and tax ramifications of STARS were discussed. See, e.g.,
USX 431; JX 247. One of these downside risks was the possible situation in which
BB&T was not allowed to take the full foreign tax credit, but was nevertheless allowed to
take a deduction on its U.S. tax returns for the U.K. tax it paid. JX 247; Monger, Tr.
1097-98. Mr. Monger relied upon KPMG’s representations that deducting the U.K. taxes
paid in STARS would be possible, and did not obtain any independent analysis. Monger,
Tr. 1100. At the time of KPMG’s representations in March 2002, Mr. Monger knew that
KPMG had not been paid for any of its work on BB&T STARS, and that KPMG would
not be paid for its work if BB&T decided not to close the transaction. Id. at 1100-01.

       Mr. Monger did, however, prepare his own calculation of BB&T’s potential
downside U.S. tax risk. USX 437; Monger, Tr. 1105-06; Watson, Tr. 3465. On March 8,
2002, he circulated his “Illustration of Downside Risk” to Messrs. Watson and Butler, in
which he referred to the potential $44 million benefit to BB&T as a “Rebate from
Barclays.” USX 437; Monger, Tr. 1108-10; Watson, Tr. 3465-66. This “rebate” was
precisely half of the $88 million listed as U.K. taxes payable in STARS and the $88
million in projected foreign tax credits. USX 437. This illustration also showed the
interest expense for borrowing the $1.5 billion (at 5.25 percent) as $78,750,000, an
expense not reduced by the $44 million rebate that BB&T expected to receive from
Barclays. Id. In making these calculations, Mr. Monger assumed that the yield to BB&T

5
 Both Messrs. Monger and Watson assisted in preparing the slides presented by Mr. Reed, although they
did not attend the meeting.

                                                 21
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 22 of 67



on the $1.5 billion loan proceeds would be identical to the cost of borrowing that amount:
5.25 percent. JX 247; Monger, Tr. 1113-14. In order to isolate the profit attributable to
the STARS transaction, Mr. Monger made a typical banking assumption that BB&T
would realize no profit on the $1.5 billion loan proceeds. Monger, Tr. 1114-15. At the
time when Mr. Monger prepared these calculations, he knew of the possibility that the
monthly rebates from Barclays could offset BB&T’s monthly interest payments. Id. at
1111-12. This scenario would result in Barclays making net monthly payments to
BB&T, which would be characterized as “negative interest” on BB&T’s tax returns and
financial statements. Id. In correspondence that followed the circulation of Mr.
Monger’s calculations, Messrs. Monger and Butler agreed that the amount of BB&T’s tax
risk or “downside” was equal to the amount of BB&T’s potential benefit from STARS.
Id. at 1122.

       On March 20, 2002, Mr. Butler sent a formal letter to Mr. Reed, addressing the tax
risks BB&T faced from STARS. Monger, Tr. 1126-27; Watson, Tr. 3466; JX 250.
Messrs. Monger and Watson had previously reviewed this letter, and knew that the tax
risks to BB&T included the inability to claim foreign tax credits, a finding that the
transaction lacked economic substance, and the potential for an IRS assessment of
penalties. Monger, Tr. 1102-04, 1126-37; Watson, Tr. 3466-68; JX 248.

        On March 21, 2002, Mr. Butler sent an email to Mr. Sultan in which he recapped a
meeting he had with Messrs. Reed, Monger, and Watson, and Sherry Kellet of BB&T.
Monger, Tr. 1151-52; USX 470. The meeting participants had discussed KPMG’s risk
assessment, which was satisfactory to BB&T. USX 470; Monger, Tr. 1155. The
participants also negotiated KPMG’s fees. USX 470; Monger, Tr. 3469-73. KPMG
initially requested $8 million in fees on the STARS transaction, but BB&T sought to
reduce its exposure in the event of an early termination of the transaction. USX 470;
Watson, Tr. 3469-70; Monger, Tr. 1156-57. KPMG offered to provide future services
supporting the foreign tax credit calculations, and thereby defer $2 million of the
requested fees. USX 470. Ultimately, BB&T negotiated an agreement in which KPMG
would provide approximately 350 hours of professional service if the STARS transaction
was examined or challenged by the IRS on audit. Watson, Tr. 3471-73, 3622-25; JX 254.

       That same day, BB&T announced that it had fired the Arthur Andersen accounting
firm as its outside auditor and had engaged PwC in that capacity. Monger, Tr. 1152-53;
USX 470. In March and April 2002, BB&T provided PwC with materials to review the
proposed STARS transaction. USX 465; Monger, 1248-51.

       KPMG and BB&T continued to negotiate KPMG’s fees, and on March 27, 2002,
Mr. Monger proposed a fee deferral similar to the fee arrangement in the OTHELLO
transaction, where payment was deferred until the deal had either closed or been
examined by the IRS. USX 485. On April 2, 2002, Mr. Butler sent an email to KPMG’s
Vice Chairman, reporting a verbal agreement on KPMG’s fee for the transaction. USX

                                           22
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 23 of 67



2238. Mr. Butler explained that “[t]he transaction will still be contingent upon PWC
signing off on the tax and accounting treatment.” Id. Mr. Monger also believed that
BB&T’s participation in STARS would only occur if PwC signed off on the transaction.
Monger, Tr. 1190-93.

       On April 5, 2002, BB&T and KPMG entered into an engagement letter agreement
for tax advisory services related to STARS. Monger, Tr. 1193; JX 254. The agreement
provided that BB&T would pay KPMG $6.5 million in fees for its work on BB&T
STARS, and of that amount, $500,000 would be deferred for each of the five projected
years of STARS. Monger, Tr. 1196; JX 254. These fees were to cover “implementation
assistance, 350 hours of examination assistance and US opinion.” JX 254.

       BB&T’s Executive Management committee planned to meet on April 8, 2002, and
Mr. Monger requested that Barclays and KPMG send representatives to this meeting. PX
36; Monger, Tr. 1148-49. Together with Mr. Monger, Mr. Ioannidis prepared a
presentation on BB&T’s exposure to tax risks related to the STARS transaction and
KPMG’s assessment of those risks. PX 36; Monger, Tr. 1148, 1217, 1224-27; JX 255. A
few days before the committee meeting, Mr. Butler circulated a draft opinion
memorandum on the U.S. tax consequences of STARS to Messrs. Monger, Watson, and
Cox. Watson, Tr. 3473; PX 46. Mr. Watson provided PwC with a copy of the KPMG
memorandum, as well as a copy of a redacted STARS legal opinion from Sidley Austin.
Watson, Tr. 3501-02. BB&T did not ask PwC to issue its own opinion on the STARS
transaction, id. at 3502-03, even though BB&T’s participation in STARS was contingent
upon PwC being “comfortable with the transaction at a high level,” id. at 3495-500, USX
529, Monger, Tr. 1238-47.

       On April 17, 2002, Messrs. Monger and Ioannidis exchanged emails regarding
STARS. USX 559; Monger, Tr. 1227-38. Mr. Monger inquired whether Barclays would
be willing to increase the size of the borrowing in STARS or “the size of the trust and
therefore the size of the tax credits.” USX 559. Mr. Ioannidis replied that Barclays
likely would be interested in increasing the size of the trust “and hence the benefit for
both parties,” but noted that an increase in the loan size might be more difficult. Id.
During the next few weeks, Messrs. Monger and Watson conferred with representatives
from KPMG and PwC regarding opinion levels and downside risk potential to BB&T
from STARS. Watson, Tr. 3504-05; Monger, Tr. 1251-55. In particular, the transaction
participants discussed whether BB&T would be able to deduct the U.K. tax payments on
its U.S. returns in the event that STARS was determined to lack economic substance.
USX 564. Mr. Watson asked KPMG to research that issue, as the loss of a deduction
would add significantly to BB&T’s potential downside risk. Watson, Tr. 3506-08. Mr.
Butler concluded that deductions would only be disallowed “if a court believed you
engaged in such a sham that they would not even allow economic losses. . . . I am
assuming we [KPMG] believe such a chance is so remote as to not need to be
considered.” USX 564.

                                           23
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 24 of 67




       On April 30, 2002, Mr. Ruble of Sidley Austin sent Mr. Monger a redacted
favorable tax opinion regarding STARS, which Mr. Watson also reviewed. USX 599;
Monger, Tr. 1265-66; Watson, Tr. 3508-09. KPMG had recommended Mr. Ruble and
his law firm to BB&T because of his work on previous STARS transactions. Watson, Tr.
3511-12. At the time of Mr. Ruble’s April 30 email forwarding the tax analysis opinion,
BB&T and Sidley Austin had not reached a fee agreement for work on STARS. Monger,
Tr. 1267.

       On May 7, 2002, BB&T formally engaged Sidley Austin for the STARS
transaction. Monger, Tr. 1295; JX 264. The engagement letter provided that BB&T
would pay Sidley Austin a flat fee for its “Tax Representation,” with the amount
dependent on the need for deconsolidation. Monger, Tr. 1295-97; JX 264. Tax
Representation included federal income tax advice and the provision of a tax opinion on
STARS. JX 264. All “other legal advice and documentation” with respect to STARS
was defined as “Corporate Representation,” which would be billed at Sidley Austin’s
usual hourly rates on a monthly basis. Id.; Monger, Tr. 1296-97. The engagement letter
also contained a waiver by BB&T of any legal conflict with Sidley Austin’s past and
potential future representation of Barclays Bank and its affiliates. JX 264.

                   4. Negotiation of STARS

       In early May 2002, representatives from BB&T and KPMG discussed whether
BB&T would have an overall foreign loss from its LILO transactions, and if so, how
BB&T’s STARS transaction could be structured to preserve BB&T’s ability to claim
foreign tax credits. Monger, Tr. 1267-68; Watson, Tr. 3513-14; PX 68. BB&T provided
KPMG with detailed information on the LILO and SILO transactions BB&T had engaged
in between June 1997 and July 2001. Watson, 3515-16; PX 68. From this information,
KPMG calculated that, through December 31, 2001, BB&T had a cumulative tax loss on
the transactions of $1.4 billion. Watson, Tr. 3516; PX 68. KPMG stated that BB&T
would have a current overall foreign loss in subsequent years. PX 68. Therefore, KPMG
concluded that “it will be necessary to structure the STARS transaction through a
deconsolidated entity that will generate passive basket income in order to utilize the
credits” generated by STARS. Id. Based on its projected overall foreign loss, BB&T
decided to deconsolidate InvestCo as part of STARS. Watson, Tr. 3516-17, 3521.6

      The Participation Agreement for BB&T’s STARS transaction provided that
BB&T would indemnify Barclays for losses if the BB&T STARS trust was not found to
be a U.K. resident or a collective investment scheme under U.K. law. Monger, Tr. 1302-

6
  Mr. Watson testified that BB&T would not have needed to deconsolidate InvestCo, because after the
IRS challenged the LILO and SILO transactions, the settlement with the IRS precluded BB&T from
claiming tax losses arising from them. Watson, Tr. 3517-18.

                                                24
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 25 of 67



03; JX 17. At this time, BB&T had no U.K. or other foreign presence, and Mr. Monger
expressed concern regarding the foreign tax treatment of the STARS trust. PX 67. Given
that KPMG was “on both sides” of the U.K. residency risk because of its representation
of Barclays, PX 67, Sidley Austin provided a U.K. legal opinion on the issue. Monger,
Tr. 1301-02; JX 287.

       On May 20, 2002, Nicholas Vasudeva of Barclays circulated an email and
memorandum to BB&T and Barclays representatives containing an analysis of the
comparative benefits of STARS to BB&T and Barclays. Monger, Tr. 1309-10; Watson,
Tr. 3563-67; JX 267. In one of these documents, Mr. Vasudeva stated that “BB&T’s
proposed split of the benefits is 50 percent of the UK tax credit available to Barclays as
holder of the C and D Units.” JX 267. Mr. Vasudeva also separately set forth the U.K.
tax loss Barclays expected to receive, stemming from the receipt and mandatory return of
the monthly Class C Unit distributions. Id. Based on Mr. Vasudeva’s memorandum, Mr.
Monger generated his own calculation of the various benefits Barclays would claim from
STARS, in addition to the tax credits on taxes paid by the STARS trust. Monger, Tr.
1316. Based on his own calculations, Mr. Monger asked that BB&T receive a higher
percentage of U.K. tax rebates from Barclays, from 50 percent to 51 percent, which was
agreed to by the parties. Monger, Tr. 1316.

       On May 29 and 30, 2002, participants from BB&T, KPMG, Sidley Austin, and
Barclays held a meeting in New York City regarding STARS. Id. at 1317-18; PX 77.
After the meeting, KPMG circulated follow-up documents, including a calculation that
BB&T could be exposed to a $2 million alternative minimum tax as a result of its
participation in STARS. Monger, Tr. 1318-19; PX 77. KPMG suggested that BB&T
consider this additional cost “in finalizing negotiations with Barclays on the benefit split
and breakage fee.” PX 77.

        On June 5, 2002, the associate general counsel of BB&T sent a letter to the North
Carolina Commissioner of Banks, seeking a non-objection letter for BB&T’s
participation in STARS. Monger, Tr. 1322-23; USX 661. In this letter, BB&T
represented that it expected the transaction to “add approximately $25 million of after-tax
benefits per annum to BB&T, or, approximately $125 million of benefits” over the entire
projected term of STARS. USX 661. BB&T also stated that its ability to receive the
after-tax benefits described was “predicated on interpretations of both United States and
United Kingdom tax laws and regulations.” Id.; Monger, Tr. 1323.

        On June 17, 2002, Mr. Ioannidis sent an email to the STARS team members at
BB&T, KPMG, Sidley Austin, and Barclays Capital, which included a draft formula
letter, formula and cash flow examples, and a spreadsheet model for the numbers in the
formula letter. Monger, Tr. 1209-17; USX 690. The draft formula letter discussed the
“makewhole payment,” explaining:


                                            25
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 26 of 67



             In summary, this payment compensates Barclays if the
             distributions out of the Trust (and hence tax credits) are less
             than agreed at the start. Barclays needs to be compensated,
             because it has already paid BB&T a spread based on the
             agreed distributions. As discussed, the reason why the spread
             has to be pre-determined is in order to avoid potential
             withholding tax on interest payments under the Zero Coupon
             Swap under the new U.S./U.K. Double Taxation Treaty.

USX 690 at 13. The draft formula letter clarified that the make-whole amount would be
equal to the lost tax credits to Barclays due to the lower trust income. Id. Mr. Monger
understood that this payment would be due at the termination of STARS unless BB&T
made up any shortfalls in Class C Unit distributions. Monger, Tr. 1213-15. BB&T had
an economic incentive not to allow such shortfalls, as BB&T could not claim foreign tax
credits for payments made to Barclays. Id. at 1215-16.

       On June 27, 2002, the Board of Directors of BB&T met to discuss the STARS
transaction originally presented to the Board in February 2002, and to learn additional
details regarding the proposed transaction. USX 728 at 1-3, 7-9. After Mr. Reed gave
the presentation, the directors adopted a resolution approving BB&T’s participation in
STARS. Id. at 5-9. The Board of Directors for the BB&T holding company also
approved the transaction on or about the same day. Monger, Tr. 1326-27. BB&T’s
STARS transaction closed on August 1, 2002. Johnson, Tr. 496; Monger, Tr. 1195-96;
JX 1.

                 5. Post-Closing Communications

       On August 27, 2002, Mr. Watson informed Mr. Reed of the possibility that BB&T
would be subject to an alternative minimum tax due to its participation in the STARS
transaction, and suggested a reassessment of tax-favored investments in order to avoid
such a tax. Watson, Tr. 3526-31; USX 941.

       On October 1, 2002, Mr. Reed sent to KPMG BB&T’s representations to be used
by KPMG in issuing its tax opinion on STARS. Monger, Tr. 1351-54; Watson, Tr. 3539-
42; JX 281. KPMG had previously written the representations letter, and transmitted it to
BB&T for review and signature. Monger, Tr. 1352-55. That same day, Mr. Butler
circulated within KPMG a final draft of KPMG’s tax opinion on BB&T STARS.
Watson, Tr. 3552-53; USX 1005.

      On October 11, 2002, KPMG sent Mr. Monger an analysis on “Deductions for
Foreign Taxes Paid” if BB&T was not entitled to claim foreign tax credits. Watson, Tr.
3531-36; JX 284. KPMG stated that BB&T “should be entitled to a deduction under


                                           26
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 27 of 67



section 162, 164 or 165 [of the Internal Revenue Code] in the event they are not entitled
to a section 901 or section 903 foreign tax credit.” JX 284.

       On February 24, 2003, Mr. Monger sought Mr. Ioannidis’ opinion on the
disclosures BB&T planned to include regarding STARS in its annual Form 10K report to
the Securities & Exchange Commission. Monger, Tr. 1356-58; USX 1163. Mr.
Ioannidis responded that referring to a trust in the income tax note was “tricky,” and that
Barclays “may have a small preference for simply stating that these foreign taxes were
incurred in the context of a financing deal with a foreign lender.” USX 1163. In March
2003, BB&T filed its annual Form 10K for the period ending December 31, 2002.
Monger, Tr. 1358-63; JX 209. The filing did not refer to a trust, but instead stated,
consistent with Mr. Ioannidis’ advice, that “[t]he foreign income tax expense included in
the 2002 provision for income taxes is related to income generated on assets controlled
by a foreign subsidiary of Branch Bank.” JX 209.

       On April 7, 2003, Sidley Austin issued its U.K. tax opinion on BB&T STARS,
addressing the issues of U.K. tax residency and the characterization of STARS as a
collective investment scheme under U.K. law. Monger, Tr. 1347-52; Watson, Tr. 3536-
39; JX 287.

        On September 19, 2004, InvestCo filed its U.S. Corporation Income Tax Return
for the year ending December 31, 2003. Watson, Tr. 3596-99; JX 234.

           E. Implementation and Structure of BB&T STARS7

       In marketing the STARS transaction, Barclays and BB&T used generic names to
identify the various entities that would be used in setting up the STARS structure. The
generic names were designed to be suggestive of the role that each entity would play in
the structure. Thus, in the section below, following the promoter’s naming convention,
the Court will identify names such as InvestCo, Manager, NewCo, and DelCo. All of the
necessary structure and entities were created within a span of one week. Monger Tr. 583.

       The references to “Class A, B, C, D, and E Units” are simply nomenclature to
describe ownership rights of the various entities and the transfers that would occur in the
STARS transaction. Despite the many components and entities making up the STARS
transaction, the real parties in interest at all times were BB&T Bank and Barclays Bank.
The transaction also consists generally of a trust (“Trust”) and a loan (“Loan”).



7
   The Court regrets the complexity of describing the STARS transaction. Government counsel rightly
observed during his opening statement that STARS exhibits a “Byzantine complexity,” and “in the annals
of tax shelter history, there probably has never been a more complex transaction than the STARS
transaction at issue in this litigation.” Donohue, Tr. 37.

                                                 27
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 28 of 67



                 1. Creation and Funding of the STARS Structure

       Branch Investments LLC (“InvestCo”) was a wholly owned subsidiary of BB&T.
Stip. ¶ 4. InvestCo was a pre-existing investment holding company formerly known as
Skylight Investment Corporation, and was organized under the laws of the state of
Delaware. Stip. ¶¶ 4, 16. On July 26, 2002, InvestCo formed Branch Management LLC,
known as “Manager,” a wholly owned Delaware corporation for U.S. federal income tax
purposes. Stip. ¶¶ 5, 11. InvestCo acquired all of the issued and outstanding shares of
Manager in exchange for $100,000 in cash. Stip. ¶ 11. BB&T retained control of
Manager. Cragg, Tr. 4461-62; USX 661 at 5.

        On July 26, 2002, InvestCo also formed Branch Holdings LLC (“NewCo”). Stip.
¶ 12; JX 283 at 3897. InvestCo organized NewCo as a wholly owned Delaware limited
liability company. JX 283 at 3897. NewCo did not issue any membership interests until
September 12, 2002. Stip. ¶ 12; JX 283 at 3897. BB&T retained control of NewCo.
Cragg, Tr. 4460; USX 661 at 5.

       Prior to executing STARS, BB&T held all of the common stock of Matewan Real
Estate Holdings, Inc. JX 283 at 3896. On July 29, 2002, Matewan REIT executed an
exchange of its common stock with BB&T. Stip. ¶ 13. On July 29, 2002, BB&T
transferred 2,000 shares of its Class A Matewan REIT Stock in exchange for 2,000 shares
of Class B REIT Stock. Stip. ¶ 14; JX 283 at 3896.

        On July 29, 2002, InvestCo converted to a limited liability company and changed
its name from Skylight Investment Corporation to Branch Investments LLC. Stip. ¶ 16;
JX 283 at 3896. InvestCo held $414 million in investment securities as of July 30, 2002.
Stip. ¶ 17. BB&T controlled InvestCo. Cragg, Tr. 4460; USX 661 at 5.

       On July 29 and 30, 2002, BB&T contributed approximately $5.755 billion in
assets to InvestCo in exchange for additional common shares of InvestCo valued at
$5.755 billion. Stip. ¶ 18. The assets contributed to InvestCo consisted of the Matewan
Class B REIT Stock, automobile loans, constant credit loans, first deed loans, and other
assets. Stip. ¶¶ 15, 18. At the conclusion of this step, InvestCo held approximately
$6.169 billion in assets, consisting of $5.755 billion contributed from BB&T, and $414
million in investment securities already held by InvestCo. Stip. ¶¶ 17, 19.

       On July 30, 2002, InvestCo formed Branch Finance LLC, known as “DelCo.”
InvestCo contributed $6.080 billion in assets and $10,000 in cash to DelCo. Stip. ¶ 20.
In return, DelCo issued two classes of shares to InvestCo: (a) $65 million in Class I
voting shares with rights to receive approximately 1 percent of any DelCo distributions;
and (b) $6.015 billion in Class II non-voting shares with rights to receive approximately
99 percent of any DelCo distributions. Id. Thereafter, InvestCo owned all of the issued
outstanding shares in DelCo. Stip. ¶ 21. DelCo owned $6.080 billion in income-

                                           28
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 29 of 67



producing assets and $10,000 in cash transferred from BB&T via InvestCo. Stip. ¶ 22.
BB&T controlled the DelCo distributions through its ownership of the Class I shares.
Cragg, Tr. 4460; USX 661 at 5. Of the approximately $6 billion owned by DelCo, $1.5
billion served as collateral for the Loan, and the remaining $4.5 billion generated income
for the required revenue stream. Johnson, Tr. 175-76.

       Branch Funding Trust, known as “Trust,” was established on July 30, 2002. Stip.
¶ 23; JX 283 at 3895. The Trust was 100 percent owned by InvestCo. Stip. ¶ 23. The
Trust Agreement that created the Trust also delegated management and administration of
the Trust to Manager, which was controlled by BB&T. Stip. ¶ 23; Cragg, Tr. 4461-62;
USX 661 at 5.

       On July 30, 2002, InvestCo contributed its DelCo Class II non-voting stock and
$89 million in assets to the Trust. Stip. ¶ 24. In return, the Trust issued to InvestCo (a)
the Class A Units with an aggregate stated value of $4.604 billion, and (b) the Class B
Unit with a stated value of $1.5 billion. Id.; JX 283 at 3897-98.

       On August 1, 2002, Barclays provided $1.5 billion in cash to the Trust in return
for a Class C Unit with a stated value of $1,474,999,000, a Class D Unit with a stated
value of $25 million, and a Class E Unit with a stated value of $1,000. Stip. ¶ 26.
Despite the Barclays Unit purchase, BB&T retained control over the Trust. Cragg, Tr.
4461-62; USX 661 at 5. Also on August 1, 2002, using the cash received from Barclays,
the Trust immediately redeemed InvestCo’s Class B Unit for $1.5 billion in cash. Stip.
¶ 32. This step completed the transfer of $1.5 billion in financing from Barclays to the
BB&T Group through the Trust. Id.

       On the closing date of August 1, 2002, InvestCo transferred 50 percent of the
Trust’s Class A Units to NewCo in return for a 100 percent membership interest in
NewCo. Id. ¶ 34. Contribution of 50 percent of the Class A Units in the Trust to
NewCo created a second member in the Trust, allowing it to elect to be classified as a
partnership for U.S. tax purposes. JX 283 at 3943.

       On August 1, 2002, InvestCo issued preferred shares to Asteras (to be addressed
below) in return for $65 million in cash. Stip. ¶ 30. Of the amount invested by Asteras,
$64.75 million was loaned to Asteras by a wholly owned subsidiary of Barclays. Id. The
remaining $250,000 came from an entity known as GSS Holdings. Cragg, Tr. 4554-55.
Also on August 1, 2002, InvestCo loaned the proceeds from the Class B redemption ($1.5
billion) and the preferred stock issuance ($65 million) to two state-chartered BB&T
banking subsidiaries, Branch Banking and Trust Company of Virginia and Branch
Banking and Trust Company of South Carolina. Stip.¶ 33.

      The Trust and DelCo each filed a form 8832 with the IRS, electing to be classified
as partnerships for U.S. tax purposes. Id. ¶ 35. On August 2, 2002, Branch

                                            29
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 30 of 67



Administrators Limited, also known as the U.K. Trustee (“Trustee”), was formed as a
U.K. incorporated company established under the laws of England and Wales. Id. ¶ 36.
In exchange for interests in the Trustee, InvestCo and DelCo funded the Trustee with
$990,000 and $10,000 in cash, respectively. Id.

       On August 8, 2002, the U.K. Trustee replaced the U.S. Trustee as the trustee of the
Trust pursuant to the Trustee Accession Agreement. Id. ¶ 37. The U.K. residence of the
Trustee made the income of the Trust subject to U.K. tax. Cragg, Tr. 4462; Demo. Ex.
15; USX 607 at 5. BB&T nevertheless retained control of the Trustee. USX 661 at 5.
The Trustee’s responsibilities were limited to administrative activities. Cragg, Tr. 4462-
63; Demo. Ex. 13; JX 243 at 2394.

                 2. Changing Barclays’ Trust Unit Purchase Into a Collateralized Loan

        Barclays and InvestCo executed two forward sale agreements (addressed below),
including one related to the Class C and E Units, and the other related to the Class D
Unit. Stip. ¶ 28. The combined effect of the forward sale agreements was that InvestCo
agreed to purchase the Class C, D, and E Units from Barclays at the termination of the
transaction for a price equal to the total original subscription amount of $1.5 billion, plus
an amount calculated by reference to a fixed interest rate, known as the “accretion.” Id.
The forward sale agreements had a stated maturity date of August 15, 2007 (a term of
approximately five years), but could be terminated by either party with 30 days’ notice.
Stip. ¶¶ 57-59. InvestCo’s obligations to Barclays were collateralized by $2.14 billion in
assets ($391 million in investment securities and $1.75 billion in auto loans). Stip. ¶¶ 53-
56. In addition, BB&T guaranteed InvestCo’s obligations to Barclays in the STARS
transaction. Stip. ¶ 27.

       Barclays and InvestCo also simultaneously executed a Zero Coupon Swap
Agreement (addressed below), which effectively converted InvestCo’s fixed-interest-rate
obligation payable at termination pursuant to the Class C Unit and Class E Unit forward
sale agreement into a floating rate interest obligation payable monthly. Stip. ¶ 29. This
floating interest obligation was calculated as the product of (a) a notional principal
amount of $1.475 billion and (b) a floating rate tied to the one-month LIBOR rate. Id.
Also as part of the Zero Coupon Swap Agreement, the floating interest obligation was
offset against a separate predetermined amount characterized in the closing documents as
the “Floating Rate Spread Amount” or the “Bx.” Id. The fixed leg of the Swap
Agreement required Barclays to pay a fixed amount at termination, which was exactly
equal to the accretion. Cragg, Tr. 4573-74; JX 20 at 431.

       The accretion payment from BB&T to Barclays calculated by reference to the
fixed interest rate contained in the Class C Unit and Class E Unit forward sale agreement
was designed to be exactly offset by an identical payment from Barclays to BB&T in the
Zero Coupon Swap Agreement. Cragg, Tr. 4571-74; Demo. Exs. 153-56. The net effect

                                             30
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 31 of 67



of Barclays’ purchase of Trust units, the forward sale agreements, and the Zero Coupon
Swap Agreement was to provide BB&T with $1.5 billion in funding from Barclays at a
floating rate of approximately one-month LIBOR plus 25 basis points, and the payment
of a monthly “Bx” amount from Barclays to BB&T. Cragg, Tr. 4577-78; Demo. Ex. 159.

                 3. Cash Flows Associated With the STARS Structure

       The Trust received 99 percent of the monthly distributions as the holder of
DelCo’s Class II ordinary stock, and InvestCo received one percent of the monthly
distributions as the holder of DelCo’s Class I ordinary stock. Stip. ¶ 38. InvestCo
determined the magnitude of these distributions through its ownership of the DelCo Class
I ordinary stock. InvestCo could cause DelCo to make distributions in excess of its
income, by distributing capital. Stip. ¶ 20; Cragg, Tr. 4486; Demo. Ex. 48. Each month,
the Trust paid the Manager a fee to compensate the Manager for managing the assets of
the Trust. Stip. ¶ 50.

        After payment of the Manager’s fee, the remaining Trust income was subject to
U.K. tax liability. Stip. ¶ 39; Coffield, Tr. 4420-21. These U.K. taxes were payable
semi-annually at a rate of 22 percent. Stip. ¶¶ 39, 63. To pay these taxes in the United
Kingdom, the Trust set aside a portion of the cash received (the “Tax Amount”) each
month in a tax set-aside account held at Barclays. Stip. ¶ 39. Since the Trust was
required to pay tax in British pounds sterling while the cash received by the Trust was in
U.S. dollars, the Trust exchanged the Tax Amount for an amount of British pounds
sterling at the prevailing exchange rate. Id.

        After deducting the Manager fee and setting aside funds to pay the U.K. taxes, the
Trust distributed its remaining cash to its unit holders pursuant to the Trust Agreement in
the following order: (1) Class A Units – one percent of the Trust’s income (proceeds
split evenly between InvestCo and NewCo, as each of those entities held 50 percent of
the Class A Units); (2) Class D Unit – LIBOR-based distribution to Barclays based on the
$25 million D Unit stated value; (3) Class C Unit – all remaining distributable income.
No distributions were made on the Class B Unit (which had been redeemed) and the
Class E Unit (which had no distribution rights). Stip. ¶¶ 32, 40. The Class C Unit
distribution was placed into the “Barclays Blocked Account,” held in the name of
Barclays at BB&T and described in the Bank Agreement. JX 18. The precise amount of
the C Unit distributions was specified in the Class C Unit and Class E Unit forward sale
agreement. JX 23 at 478-80. The C Unit distributions were approximately 99 percent of
the Trust’s remaining income after payment of the U.K. tax. Cragg, Tr. 4495; Demo. Ex.
66.

      At the time they entered into the STARS transaction, the parties agreed to a
schedule of expected monthly Class C Unit distributions set forth in the Class C Unit and
Class E Unit forward sale agreement. Stip. ¶ 41; JX 23 at 478-80. The Class C Unit

                                            31
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 32 of 67



distributions were required to be paid each month into the Barclays Blocked Account at
BB&T. Stip. ¶ 41. The amount of the monthly distribution ranged between
approximately $25 million and $35 million. Cragg, Demo. Ex. 33. Barclays had no
authority to withdraw funds from this account. Id. At the closing date, Barclays
irrevocably directed that all funds paid into the Barclays Blocked Account be returned to
the Trust on the same day (or as soon as practicable thereafter). Id. In every month the
STARS transaction was in effect, the Class C Unit distribution was made in exactly the
target amount, and these distributions were always returned to the Trust on the same day.
Cragg, Tr. 4474-75; Demo. Ex. 36; Stip. ¶ 41. While the distributions differed somewhat
from month to month, this variation is explained by the differing number of days across
time periods. Cragg, Tr. 4473-74; Demo. Ex. 34.

       Each month the Trust would distribute income to the Class D Unit holder
(Barclays) equal to (one-month U.S. dollar LIBOR + 25 basis points) x 0.875 x
$25,000,000 (the stated amount of the Class D Unit). Stip. ¶ 42.

       Barclays was obligated, pursuant to the Class C Unit, Class D Unit and Class E
Unit Subscription Agreement, to return all Class C Unit cash distributions received from
the Trust back to the Trust via the Barclays Blocked Account. Stip. ¶ 43. These returns
of funds were represented by the parties to be further investment in the Class E Unit. Id.
However, further investments in the Class E Unit did not increase the Class E Unit
distributions because the Class E Units were not entitled to Trust distributions, Stip. ¶ 40,
and did not affect the price at which the Class E Unit would be repurchased by BB&T
under the forward sale agreement. Cragg, Tr. 4497-99; JX 23 at 476. The Trust then
took the returned Class C Unit distributions and purchased additional DelCo Class II
shares. Cragg, Tr. 4500; USX 918 at 30-31. The Trust’s increased investment in DelCo
Class II shares did not increase its rights to DelCo distributions. Cragg, Tr. 4501; JX 7 at
111.

        Under the forward sale agreements, InvestCo agreed at the termination of the
STARS transaction to purchase, and Barclays agreed to sell, the C, D, and E Units at a
predetermined price consisting of $1.5 billion plus a fixed amount. Stip. ¶ 44. The fixed
amount was calculated by multiplying $1.5 billion by 4.43 percent (the five-year swap
rate of 4.18 percent plus a spread of 25 basis points) less the Bx amount. Id. The parties
simultaneously executed the Zero Coupon Swap Agreement that effectively converted
BB&T’s fixed-rate obligation payable at termination under the Class C Unit and Class E
Unit forward sale agreement into a floating rate interest obligation payable monthly. Id. ¶
45. Under the floating leg of the Zero Coupon Swap Agreement, Barclays received from
InvestCo a variable payment calculated by multiplying $1.475 billion (the Class C stated
value) by (one-month U.S. Dollar LIBOR + 25 basis points) minus the Bx (referred to in
the Swap Confirmation as the “Floating Rate Spread Amount”). Id.



                                             32
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 33 of 67



       The parties agreed to a schedule of specific Bx payments at the inception of the
transaction. Stip. ¶ 47. Over the expected 60-month period of the STARS transaction,
the monthly Bx payment ranged from a low of $3,633,996 (month 7) to a high of
$5,650,566 (month 1). Id.

       Each month, InvestCo’s floating interest obligation and Barclays’ Bx obligation
were netted against each other. Stip. ¶ 46. In instances where InvestCo’s floating interest
obligation exceeded Barclays’ Bx obligation, InvestCo would make a payment to
Barclays. Id. In instances where InvestCo’s floating interest obligation was less than
Barclays’ Bx obligation, Barclays would make a payment to InvestCo. Id. From
September 2002 until mid-2005 (nearly three years), Barclays made monthly payments to
InvestCo under this agreement. Coffield, Tr. 4433-34; Stip. App. A. In 2003, the
Barclays payments to InvestCo exceeded $25 million, and in 2004, they were more than
$26 million. Stip. App. A. Banks, in making a loan, do not normally pay interest to the
borrower. Monger, Tr. 1113.

       Over the life of the transaction, InvestCo agreed to pay to Asteras quarterly
dividend payments at a rate of one-month dollar LIBOR + 35 basis points multiplied by
the $65 million stated value of its preferred stock. Stip. ¶ 49. Asteras was obligated to
make payments to Barclays’ subsidiary, Barclays Oversight Management, Inc. (“BOMI”)
at a rate of one-month dollar LIBOR + 24 basis points multiplied by $64,750,000, the
amount Asteras had borrowed from BOMI to acquire the preferred shares. Id. The
detailed spreadsheet used by the parties to analyze the STARS cash flows disregarded
Asteras, and treated Barclays as the recipient of the preferred dividend. Cragg, Tr. 4555-
56; Demo. Ex. 134.

       The amount of Trust income placed into the U.K. tax set-aside account was used
to pay U.K. taxes as they became due. Stip. ¶ 48. The Trust’s payment of U.K. taxes
generated the foreign tax credits claimed by BB&T. JX 241 at 187488. The Trustee,
acting through the Manager in its management and administration capacity, made U.K.
tax payments from the U.K. tax set-aside account to the U.K. taxing authority. Stip. ¶ 48.
Pursuant to U.K. law, the Trust’s taxable years ended on April 5 each calendar year,
triggering the following events: (a) payment by January 31 of 50 percent of the estimated
tax due for the year; (b) payment by July 31 of the remaining 50 percent of the estimated
tax due for the year; and (c) payment by the following January 31 of the balance due, if
any, as evidenced in the concurrently filed tax return. Id.

                 4. Loan

       Barclays and BB&T created the $1.5 billion STARS Loan component with
subscription agreements and two types of derivative contracts known as a forward sale
agreement and a zero coupon swap, discussed above. JX 14; JX 19; JX 20; JX 23; JX 24;
JX 36; JX 38. Barclays transferred $1.5 billion in cash to BB&T by means of the

                                            33
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 34 of 67



subscription agreements at the beginning of the STARS transaction. JX 14; JX 38. On
the August 1, 2002 closing date, Barclays subscribed for, or purchased, the STARS
Trust’s C, D, and E Units for $1.5 billion. Cragg, Tr. 4466; Demo. Ex. 21; JX 2 at 9-10;
JX 38. By using this method, Barclays briefly placed the $1.5 billion in the Trust. JX 38
at 855-56. With this $1.5 billion, the parties put a value of $1,474,999,000 on the C Unit,
a value of $25 million on the D Unit, and a value of $1,000 on the E Unit. JX 2 at 9-10.

        A forward sale agreement is an agreement to sell an asset at a future date for a
price that is agreed to on the date of the agreement. Kawaller, Tr. 4874. Barclays and
BB&T entered into two forward sale agreements: (a) a Class C Unit and a Class E Unit
Forward Sale Agreement, and (b) a Class D Unit Forward Sale Agreement. Kawaller, Tr.
4873-74; JX 23 at 468-83; JX 24 at 484-94. Under these agreements, Barclays
committed to sell, and BB&T (through InvestCo) committed to buy the C, D, and E Units
at the end of the STARS transaction. Kawaller, Tr. 4884-85; JX 23 at 470; JX 24 at 486.

        Although Barclays originally subscribed for these units from the Trust entity
directly, Barclays agreed to forward sell the C and E Units at termination for $1.475
billion and agreed to forward sell the D Unit at termination for $25 million. Kawaller,
Tr. 4884-85; JX 2 at 9-10; JX 23 at 470; JX 24 at 486, 491. InvestCo agreed to forward
buy the C, D, and E Units for these amounts. Id. The Class C and E Unit Forward Sale
Agreement did not discuss or recognize the mandatory return of the Class C Unit
distributions each month, characterized as “reinvestments” in the Class E Unit, and did
not allow for an increase in the sale price on the Class E Unit commensurate with these
additional payments. JX 2 at 11; JX 23 at 470; USX 918 at 36, 40. This arrangement
assured that at the end of the transaction Barclays would receive only the $1.5 billion that
it originally put into the transaction. Id. The forward sale prices for the C, D, and E
Units were due to Barclays at termination, when Barclays was to transfer these units to
InvestCo. JX 23 at 470; JX 24 at 486.

       The Class C and E Unit Forward Sale Agreement formula calculated the accretion
of interest on $1.475 billion at a fixed rate of 4.43 percent (composed of a swap rate of
4.18 percent plus a credit spread of 25 basis points), adjusted for the cumulative future
value of Barclays’ monthly Bx payments to BB&T. James, Tr. 3798; JX 23 at 476; JX
36 at 721. However, the parties never intended for this fixed interest rate to be paid.
Cragg, Tr. 4573-74; Demo. Exs. 155, 156. Instead, the parties simultaneously entered
into a Zero Coupon Swap, which Dr. Cragg concluded “has the effect of eliminating the
accretion payment,” by “exactly offsetting it.” Id. As a result, the fixed rate accretion
under the Class C and E Unit Forward Sale Agreement had no economic effect. Cragg,
Tr. 4573-75; Demo. Exs. 155-157; JX 36 at 725.

        Because InvestCo paid the D Unit interest currently over the life of the STARS
transaction, the forward sale price for that Unit was simply $25 million, the same as the
initial acquisition price. JX 24 at 491. The forward sale payments for the C, D, and E

                                            34
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 35 of 67



Units were due at termination, when Barclays was to transfer the units to InvestCo. JX
23 at 470, 472, 486-87. Although the Forward Sale Agreement for the C and E Units
could have applied a variable rate of interest or scheduled the interest payments to be
paid monthly, it did not. The parties simply did not need a swap to convert the forward
sale’s fixed interest rate to a variable interest rate. Kawaller, Tr. 4882. Rather, the
parties used a simultaneously executed interest rate swap to set the actual interest rate to
be paid each month at LIBOR + 25 basis points on $1.475 billion. Kawaller, Tr. 4884-
85; Demo. Ex. 8. However, Barclays needed the fixed-payment accruing interest of the
forward sale to make it appear that Barclays would suffer a predictable U.K. tax loss by
its purported equity investments in the Trust’s E Unit, which by design, did not return
anything of value to Barclays. Monger, Tr. 649-50; Watson, Tr. 3546. Over the course
of the transaction, Barclays would thus realize a U.K. tax loss because of how it priced
the forward sale, namely that it had to increase the value of its investment in the Class E
Unit of the Trust but had to sell back the Class E Units at a fixed price. Sultan, Dep. 52.
Under U.K. tax law, Barclays was able to deduct this anticipated future loss. Monger, Tr.
649-50; Zailer, Tr. 2665-66; Demo. Ex. 2; USX 2215 at 20.

       Under a typical interest rate swap, two parties agree to exchange payments, each
calculated with reference to the same principal amount. Kawaller, Tr. 4876-77; Demo.
Ex. 5. One party to the interest rate swap agrees to pay a variable rate on the principal
amount, and the other party agrees to pay a fixed rate. Id. These two payment
obligations are offset against each other, and the net difference is paid by one party or the
other. Kawaller, Tr. 4878; JX 281 at 3903.

       BB&T and Barclays entered into an interest rate swap agreement simultaneously
with the forward sale agreements, known as the Zero Coupon Swap. JX 20; JX 23; JX
24. By this swap agreement, the parties replaced the lump sum accretion amount due at
termination on the C and E Units into a series of monthly payments computed at a
variable interest rate based upon LIBOR. Cragg, Tr. 4567; Demo. Ex. 147; JX 281 at
3903.

       The fixed leg of the Zero Coupon Swap required Barclays to pay BB&T the net of
(a) the accrued interest for the term of the STARS transaction, using a fixed rate of 4.43
percent on $1.475 billion, and (b) the cumulative future value of Barclays’ monthly Bx
payments to BB&T. Lys, Tr. 4217; JX 20 at 430; JX 36. This amount precisely equaled
the accretion amount that InvestCo was obligated to pay Barclays under the Forward Sale
Agreement in connection with the C and E Units. JX 23 at 476. As a result, Barclays’
fixed rate accretion amount obligation under the Zero Coupon Swap cancelled out
InvestCo’s fixed rate accretion amount obligation under the C and E Unit Forward Sale
Agreement, effectively negating the fixed interest rate component of the Forward Sale
Agreement. Cragg, Tr. 4573-74; Demo. Ex. 155; JX 36 at 725.



                                             35
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 36 of 67



       Because the fixed rate accretion in the Forward Sale Agreement and the Zero
Coupon Swap were designed to cancel each other out, the choice of 4.18 percent plus 25
basis points as the rate to be included in both of these agreements had “no commercial
importance” and was entirely arbitrary. Finard, Tr. 5048-49; USX 1479; USX 771. The
parties could have specified any number at all in place of the 4.18 percent, and the
economics of STARS would not have changed. Finard, Tr. 5048-49.

       In addition, under the Zero Coupon Swap, InvestCo agreed to make monthly
payments to Barclays on the same principal sum of $1.475 billion at the variable rate of
LIBOR + 25 basis points. Cragg, Tr. 4575; JX 20 at 432. The cumulative effect was to
replace InvestCo’s fixed interest obligation under the Forward Sale Agreement with a
variable interest obligation payable monthly. Cragg, Tr. 4573-74; Demo. Ex. 155; JX
283 at 3903. Thus, the net effect of combining the Forward Sale Agreement with the
Zero Coupon Swap was that InvestCo paid Barclays interest at LIBOR + 25 basis points
on $1.475 billion. Cragg, Tr. 4573-74; Demo. Ex. 155.

       Evaluating the net economic effect of the Loan therefore requires piecing together
three agreements: (1) the Class C, D, and E Unit Subscription Agreement, under which
Barclays paid the Trust $1.475 billion for the C and E Units; (2) the Class C and E Unit
Forward Sale Agreements under which InvestCo committed to purchase those units at
termination for $1.475 billion plus an interest component of 4.43 percent each year; and
(3) the Zero Coupon Swap, under which Barclays agreed to pay identically computed
interest at 4.43 percent each year, and InvestCo agreed to pay monthly interest at LIBOR
+ 25 basis points. Kawaller, Tr. 4884-85; Demo. Ex. 8; James, Tr. 3798; JX 2 at 8-11;
JX 20; JX 23 at 476; JX 36 at 721; JX 38.

       With the offsetting fixed-rate interest payments under the Zero Coupon Swap and
the Forward Sale Agreement netting out to zero, and the remaining monthly interest
payments by InvestCo to Barclays at LIBOR plus 25 basis points, the net effect of this
structure’s three agreements was that BB&T received $1.475 billion from Barclays at an
interest rate of LIBOR + 25 basis points. Kawaller, Tr. 4893-94; JX 20; Finard, Tr.
5047-48; Demo. Ex. 27.

                 5. Bx Payments From Barclays to BB&T

       The Bx payment was the monthly payment that Barclays made to BB&T as part of
the STARS transaction and constituted one of the key components of the transaction.
The monthly Bx payments were listed in a schedule in the Amended and Restated
Formulae Letter. JX 36 at 721-22; Cragg, Tr. 4513-14; Demo. Ex. 96. The Formulae
Letter set forth the agreed interpretation of how the formulas would operate in the
Forward Sale, Zero Coupon Swap and Trust Agreements. JX 36 at 718-19. The
Formulae Letter contained the mathematical equation used to calculate the monthly Bx
payments. JX 36 at 724; Cragg, Tr. 4514; Demo. Ex. 97.

                                           36
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 37 of 67




       The June 2002 draft Formulae Letter stated: “BB&T’s portion of the benefits
under the transaction for each month (Bx in the Forward Sale and Zero Coupon Swap
formulas) will be calculated before the Closing Date by the formula below,” which
references the specific Bx formula used in the BB&T STARS transaction. Cragg, Tr.
4516; JX 690 at 1398. As noted, it was important for the parties to fix the monthly Bx
payments before closing to avoid potential withholding tax on the interest payments
under the Zero Coupon Swap and the U.S./U.K. Double Taxation Treaty. Cragg, Tr.
4516-17; Demo. Ex. 101; USX 690 at 13.

       The Bx payment formula was directly related to the amount of U.K. taxes paid by
the Trust. From an economic perspective, the amount of the Bx monthly payment
constituted a rebate of the U.K. taxes paid by the Trust. Cragg, Tr. 4517; Demo. Ex. 103.
Barclays described the monthly Bx payments as a percentage of the U.K. taxes. In a
February 16, 2002 memorandum to BB&T, Barclays’ Mr. Sultan highlighted that the
benefits from STARS were equal to 50 percent of the U.K. taxes. Mr. Sultan stated: “The
benefit under STARS arises from the ability of both parties to obtain credits for the taxes
paid in the trust. Thus, the benefits to both BB&T and Barclays are easy to calculate and
are equal to 50 percent of these taxes for each party.” JX 244 at 16419; Cragg, Tr. 4519-
20; Demo. Ex. 105. KPMG also described the monthly Bx payments as a percentage of
the U.K. taxes. In a January 2002 KPMG presentation to BB&T, KPMG emphasized that
“BB&T obtains [a] rate reduction of 50 percent of UK tax, or $27 million.” Cragg, Tr.
4520; Demo. Ex. 106; JX 239 at 11266.

       The Formulae Letter defined the monthly Bx payments as a percentage of the U.K.
taxes. This letter stated: “In words, Bx is equal to 51 percent of the tax credits received
by Barclays on the Class C Unit . . . .” The Class C Unit constituted virtually all of the
Trust’s income. Cragg, Tr. 4520-21; Demo. Ex. 107; JX 36 at 724. Barclays referred to
the monthly Bx payments as both a percent of the U.K. taxes and as a percent of
Barclays’ U.K. tax credit generated from the STARS transaction. Barclays used these
terms interchangeably. Cragg, Tr. 4526; Demo. Ex. 109; JX 244 at 16419-20. KPMG
also used the terms interchangeably. JX 239 at 11254.

      The “floating rate spread amounts” in the Zero Coupon Swap were precisely the
same values identified as the Bx in the Formulae Letter. The parties to the transaction
used Bx and “floating rate spread amount” to describe the same cash flows. Cragg, Tr.
4584-86; Demo. Exs. 165, 166; JX 36 at 726.

       Significantly, the Bx payments have no relationship to the amount of the Loan in
the parties’ modeling of the STARS transaction. Cragg, Tr. 4589-90, 4592-93; Finard,
Tr. 5098-99; Demo. Ex. 65, 66; Ioannidis, Dep. 184. Barclays created a spreadsheet for
the STARS model, and shared it with BB&T and other STARS’ counterparties. Finard,
Tr. 5086-87. The STARS model for the BB&T transaction had built-in parameters to

                                            37
         Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 38 of 67



allow the parties to explore the impact of different relationships using four specific
variables, which included the amount of the Loan. Finard, Tr. 5088-99; Demo. Ex. 57-
66. The model also included a variable for the Bx payments. Id. The model permitted
the parties to make projections of cash flows and to perform other calculations. Id.
Application of the model demonstrated that when the amount of the STARS Loan was
increased or lowered, there were no changes to the amounts of the monthly Bx payments,
confirming that there was no relationship between the monthly Bx payments and the size
of the STARS Loan. Cragg, Tr. 4590-93; Finard, Tr. 5088-99; Demo. Exs. 57-66. The
amount of the Bx payment was determined solely by the amount of income that flowed
through the Trust, which had no relation to the amount of the Loan. Cragg, Tr. 4593-94;
Demo. Ex. 170; USX 1545 at 14. The Bx amount was calculated from a formula, which
did not contain any mathematical term or symbol representing the STARS Loan. Cragg,
Tr. 4595-96; Demo. Ex. 171; JX 36 at 724. The Loan had no connection with the Bx.
Cragg, Tr. 4595-96.

                     6. U.K. Tax and Accounting Treatment

       The U.K. tax treatment of the STARS transaction is highly complex, but results in
substantial benefit to Barclays, BB&T, and the U.K. taxing authority, HMRC, all at the
expense of the United States Treasury. At trial, the parties employed an example based
upon the existence of $100 of Trust income.

       Under section 469 ICTA8 1988, the Trustee paid income tax to HMRC at 22
percent, or $22 of the $100 Trust income, leaving the Trustee with $78 after the payment
of U.K. income tax. Zailer, Tr. 2663-72. Under the same section, Barclays was treated
as receiving a Trust distribution of $78, but the amount was grossed up for the U.K.
income tax of $22 so that Barclays received a distribution of $100 and a tax credit of $22.
Id. Because Barclays paid corporate tax at 30 percent, Barclays had to pay only $8 in tax,
which is the difference between its corporate tax liability of $30, less the tax credit of
$22. Id.

       The Trustee distributed the after-tax amount of $78 to Barclays, and Barclays re-
contributed the $78 back to the Trust. Id. Barclays then claimed a $78 tax deduction,
which at a 30 percent tax rate, yielded a $23.40 tax benefit. Id. Barclays’ tax liability of
$8 could be eliminated using the $23.40 tax benefit from the deduction, leaving Barclays
with a total tax benefit of $15.40 ($23.40 minus $8). Id. Under Barclays’ agreement
with BB&T, Barclays had to rebate to BB&T a portion of the $22 tax credit. Id. In
marketing STARS to BB&T, the Barclays and KPMG promoters showed the rebate
payment as 50 percent, or $11, although the parties ultimately agreed to a 51 percent
rebate. PX 17 at 11223; USX 343 at 17; JX 36 at 724. Barclays deducted the $11 rebate
payment, which, at a 30 percent corporate tax rate, yielded $3.30. The total tax benefit to

8
    “ICTA” refers to the U.K.’s Income and Corporation Taxes Act of 1988.

                                                   38
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 39 of 67



Barclays was $18.70 ($3.30 plus $15.40). In economic terms, the benefit to Barclays was
the U.K. tax benefit of $18.70, less the $11 rebate to BB&T, or a total of $7.70. Peacock,
Tr. 2205-06. The percentage split between Barclays and BB&T is contained in the
Formulae Letter, where the Bx payment is described as 51 percent of the $22 tax credit.
JX 36.

       The Trustee paid HMRC $22 in taxes, but because Barclays obtained an $18.70
U.K. tax benefit, the total tax collected by HMRC was $3.30 ($22 less $18.70). Zailer,
Tr. 2700-02. Barclays itself did not pay U.K. tax as part of the STARS structure. Id.

       The U.K. tax treatment above makes the following assumptions: (1) that the
STARS Trust is an unauthorized unit trust whose Trustee is a U.K. resident for tax
purposes; (2) that it is correct as a matter of U.K. law to treat Barclays as the holder of
the Class C Unit; (3) that it is correct as a matter of U.K. law to treat Barclays as the
recipient of the Class C Unit distributions; and (4) that Barclays was entitled to claim a
tax deduction for the re-contribution of $78 to the Trust. Peacock, Tr. 2187-96.

        Barclays assumed some risk that the HMRC would challenge the above
assumptions, and if challenged, there was a risk that the challenge would be successful.
Zailer, Tr. 2691-94; Demo. Ex. 9, 10. A successful challenge would invalidate the
intended STARS tax treatment, and Barclays’ expected U.K. tax benefits under STARS.
Zailer, Tr. 2691-92; Demo. Ex. 9.

                 7. Transaction Features Designed to Minimize Barclays’ Economic
                    Risks

       The Class C and Class E Unit Forward Sale Agreement contained a make-whole
feature under which BB&T was obligated to reimburse Barclays if the credits generated
by the Trust failed to match the parties’ expectations. Peacock, Tr. 2212; JX 23 at 472,
480; JX 36 at 840. This provision provided safety to Barclays if there was less than full
payment of U.K. taxes by the Trust: “. . . this payment compensates Barclays if the Class
C Unit distributions out of the trust (and hence the tax credits) are less than the agreed
level.” Cragg, Tr. 4530-31; JX 36 at 841. The make-whole payment would only be
made to Barclays on the Class C and Class E Forward Sale Date, and therefore the make-
whole payment also compensated Barclays for the time value of money. JX 236..

       If BB&T became obligated to reimburse Barclays under the make-whole
provision, it would be making a direct payment to Barclays rather than a tax payment to
the United Kingdom. Cragg, Tr. 4533-34; JX 36 at 840-41. In this circumstance, BB&T
would be unable to claim foreign tax credits for the payment. Cragg, Tr. 4534-35.
BB&T had an economic incentive to ensure full and timely payment of U.K. tax on the
Trust income. Id.


                                            39
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 40 of 67



       The Amended and Restated Participation Agreement contained an indemnity
provision that would be triggered if the Trust paid no tax because it was not a collective
investment scheme, or if the Trustee was not a U.K. resident. Cragg, Tr. 4543-44; JX 17
at 297. BB&T’s indemnity payment to Barclays would be approximately one-half of the
U.K. tax that the Trust would have paid. Cragg, Tr. 4545; JX 17 at 298-99.

       The parties also negotiated at-will termination rights. Johnson, Tr. 282-83; JX 23
at 472-73. Under the Forward Sale Agreement, Barclays could terminate STARS for any
reason with 30 days’ notice. JX 23 at 473. If Barclays did not receive its anticipated tax
benefits, it could have terminated the transaction. USX 2219 at 14. BB&T also could
terminate STARS for any reason with 30 days’ notice. JX 23 at 472-73. BB&T was well
aware of this 30-day termination right. Monger, Tr. 1063; Watson, Tr. 2867-68. BB&T
wanted sufficient time to replace the STARS Loan if it became necessary. Monger, Tr.
730.

                 8. Trust Income

       Every month during the STARS transaction, BB&T targeted a pre-determined
amount of money that it would briefly and nominally transfer to Barclays. JX 23 at 478-
80; USX 1972. These transfers were to occur on the fifteenth day of each month. Over
the expected 60-month duration, the pre-determined monthly transfers averaged
$31,332,400. Id. As noted, the amounts varied from month to month because of
variations in the number of days per month and compounding asset income in the
transaction. Cragg, Tr. 4473-74. BB&T transferred these amounts, known as the Class C
Unit distributions, to the Barclays Blocked Account. Monger, Tr. 653-54; Coffield, Tr.
4414; USX 1972, rows 253, 257; USX 1994 at 2. A BB&T employee would make these
Class C Unit distributions, and at the same time, would make another equal and opposite
transfer from the Barclays’ Blocked Account back to the original account. Coffield, Tr.
4427; USX 1972, rows 250, 253, 256-57. This latter transfer was known as the E Unit
reinvestment. Wild, Tr. 2625; USX 1972, rows 296-97.

        The C Unit distribution amounts came from loan income held by BB&T’s DelCo
entity, known as Branch Finance LLC. Coffield, Tr. 4398-99, 4412-13. A BB&T
employee reviewed the pre-determined Class C Unit distribution amounts monthly and
calculated how much money to transfer from DelCo to make the distribution. Coffield,
Tr. 4414; USX 1988. These distributions involved a simple chronological pattern:

             A payment from DelCo to the Trust;
             A payment from the Trust to the blocked account;
             A payment from the blocked account back to the Trust; and
             A payment from the Trust back to Delco.



                                           40
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 41 of 67



Monger, Tr. 1007-08. Logistically, all of these transfers took place during the same
overnight process every month. Coffield, Tr. 4430.

        The purpose of exactly matching transfers to and from the blocked account was to
create a trading loss for Barclays on its U.K. taxes. Peacock, Tr. 2196; Wild, Tr. 2539-
41. The transfers made it appear that Barclays received STARS Trust income by the
initial transfer to the blocked account, but then Barclays immediately and mandatorily
“reinvested” the distributed amount into the Class E Unit. Barclays then lost the
“reinvested” contributions because it had to sell the E Unit back to BB&T for an amount
equal to its initial capital contribution. Peacock, Tr. 2196; Sultan, Dep. 106-07. Barclays
had no economic interest in the Class C Unit distributions and never intended to receive
any benefits from these distributions aside from tax benefits. Sultan, Dep. 122, 263;
Abrahams, Dep. 48. Nevertheless, Barclays took the position that U.K. tax law would
respect the Class C Unit ownership because of the law’s alleged recognition of form over
substance. Sultan, Dep. 122-23.

       DelCo held the assets used in STARS, rather than the Trust, for U.K. tax reasons.
Wilkerson, Tr. 1808-09. If the Trust had held the STARS assets, it might have exposed
the assets to U.K. capital gains taxes and foreign currency gains taxes, neither of which
would have produced a benefit for Barclays within the STARS structure. Wilkerson, Tr.
1808-09; Lys, Tr. 4060. Further, BB&T would have been required to reimburse Barclays
for any U.K. tax that Barclays incurred on capital gains arising in the Trust. USX 2215 at
54-56. BB&T also recognized that it might not be able to claim foreign tax credits for
any payment of a capital gains tax paid by the Trust. Id.

      In order to ensure that DelCo maintained a large enough pool of assets to make the
monthly payment of the dividend on the Branch Finance Class II Shares, BB&T
employees monitored the Loan assets in DelCo on a daily basis. Coffield, Tr. 4397-98,
4401. For example, if DelCo auto loans were paid off or otherwise retired, new assets
had to be transferred to DelCo to maintain the necessary income levels. Coffield, Tr.
4398-400; Finard, Tr. 5119. This exercise involved determining what assets DelCo could
purchase from the main BB&T North Carolina entity, and then internally selling those
Loan assets from BB&T North Carolina to DelCo as necessary. Coffield, Tr. 4399-400.

                 9. STARS Submission to the North Carolina Commissioner of Banks

       In the spring of 2002, BB&T informed the North Carolina Commissioner of Banks
(“NCCOB”) of the STARS transaction. Hudson, Tr. 1565; JX 258; JX 268. The
NCCOB is the public regulator of North Carolina state-chartered banks. The NCCOB is
responsible for ensuring that North Carolina is served by banks that are able to meet the
credit needs and other financial services of those within the state. Smith, Tr. 2950. A
fundamental element of this responsibility is reviewing the “safety and soundness” of
regulated banks, which consists of assessing a bank’s capital, asset quality, management,

                                            41
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 42 of 67



earnings, liquidity, and sensitivity to interest-rate risk. Smith, Tr. 2906-07. The NCCOB
does not assist North Carolina chartered banks in complying with federal tax law. Smith,
Tr. 2950. The NCCOB staff is not trained in federal tax law. Smith, Tr. 2920-22, 2952-
53.

       BB&T sought from the NCCOB a non-objection letter regarding STARS in order
to secure the NCCOB’s determination that the STARS entities would be considered
operating subsidiaries under North Carolina law. Smith, Tr. 2928-29. BB&T’s purpose
essentially was to obtain the NCCOB’s permission to form the STARS entities. Hudson,
Tr. 1565-66. If BB&T had not taken this step, and if the NCCOB later had determined
that, under North Carolina law, the STARS entities were subsidiaries engaged in non-
banking activities, the consequences to BB&T would have been “significant.” Smith, Tr.
2967-68; Hudson, Tr. 1476.

       BB&T’s in-house counsel, Howard Hudson, sent the NCCOB a letter dated April
11, 2002 that discussed STARS as “making available to BB&T over the next five years
cost effective funding of $1.5 billion at approximately 300 basis points below BB&T’s
normal funding cost on an underlying asset pool of $7.2 billion.” JX 258 at 1. This letter
described STARS “as somewhat complex in nature,” and BB&T offered to make Mr.
Watson and Mr. Monger available to explain STARS to the NCCOB staff. Id. BB&T
intended to give the NCCOB a preliminary tutorial on STARS before formally seeking
non-objection. Hudson, Tr. 1476. In approaching the NCCOB, BB&T did not mention a
sharing of U.K. tax benefits with Barclays, or that the low financing was made possible
by claiming foreign tax credits in the United States. Smith, Tr. 2954-58; JX 258.

       On April 23, 2002, the NCCOB’s Daniel Garner requested a conference call with
BB&T, and asked that BB&T assume “they are talking to a college student taking an
accounting class, and then walk[ing] [NCCOB] through it at that level.” JX 263. Shortly
thereafter, BB&T executives met with Daniel Garner and others at NCCOB to provide
them with an overall briefing about STARS. Hudson, Tr. 1560. During the briefing,
BB&T did not describe the C Unit distribution and the corresponding E Unit re-
contribution as a circular cash flow. Smith, Tr. 2962-63. Before STARS, Mr. Smith had
not heard of a financing transaction with an interest rate of 300 basis points below
LIBOR, and he never fully understood how Barclays was able to offer below-LIBOR
financing to BB&T via the STARS transaction. Smith, Tr. 2959, 2961.

        By letter dated June 5, 2002, BB&T formally sought non-objection from the
NCCOB regarding the STARS entities. JX 268. In that letter, BB&T described STARS
as “a synthetic financing transaction under which BB&T will borrow approximately $1.5
billion from Barclays . . . . The primary benefit of the Financing Transaction is that the
interest rate payable by BB&T will be at an effective rate of 290 basis points below
BB&T’s normal cost of funds . . . .” Id. According to this letter, such a benefit was


                                           42
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 43 of 67



“predicated on interpretations of both United States and United Kingdom tax laws and
regulations.” Id.

       On June 6, 2002, the NCCOB informally indicated to BB&T its non-objection to
the STARS entities. USX 667. By letter dated June 14, 2002, the NCCOB formally
provided to BB&T such non-objection. JX 270. The NCCOB issued the formal non-
objection letter with the understanding that BB&T would “obtain opinion letters as
outlined in the application . . . and attempt to insure that the activities of . . . the agents,
employees, and affiliates . . . that may be taken on behalf of the Bank shall comply with
all applicable federal, state, and local laws and regulations.” Id. at 13509. The non-
objection letter also stated it was not an endorsement of STARS, but rather, was merely a
statement by NCCOB that the STARS entities did not appear to pose a threat to BB&T’s
“safety and soundness.” Id.

       The NCCOB never independently analyzed the tax treatment of BB&T’s STARS
transaction, and never sought a third-party analysis for this purpose. Smith, Tr. 2959-60.
The NCCOB relied on BB&T’s assurance in its formal request for non-objection that
BB&T would receive written tax opinions from both Sidley Austin and KPMG regarding
STARS’ tax effects. Smith, Tr. 2960; JX 268.               During his tenure as NCCOB
Commissioner, Mr. Smith personally wanted BB&T to become the largest state-chartered
bank in the United States. Smith, Tr. 2948-50.

           F. Possible Second STARS Transaction

       Starting in June 2003, various newspaper stories were published regarding KPMG,
Sidley Austin and Mr. Ruble, and their role in allegedly improper tax shelters. See USX
1296; USX 1453; USX 1475.9 On or about October 2003, Mr. Monger knew that Sidley
Austin had terminated Mr. Ruble, and discussed that fact with Messrs. Hudson and Reed.
Monger, Tr. 1372-74. At some time in 2003 or 2004, Mr. Watson and other executives at
BB&T learned that KPMG, Mr. Ruble, and Sidley Austin were all under scrutiny for tax
shelter activity. Watson, Tr. 3553-55. Although KPMG and Sidley Austin were
receiving negative publicity regarding abusive tax shelters, Barclays pitched a second
STARS transaction to BB&T. Watson, 3559-60.

       By April 15, 2004, there was a pending IRS audit of BB&T’s listed transactions
from 1998-2002, which included STARS. USX 1601. In an internal Barclays email sent
that day, Mr. Ioannidis stated that Mr. Monger “does not want to be expanding a trade

9
 These articles, published in The Wall Street Journal and The Chicago Tribune, were titled “KPMG’s
Emails Pointed to Concerns Over Tax Shelters,” “U.S. Government Sues Sidley Austin On Tax Shelters,”
and “Sidley Austin expels partner; Played key role in tax shelters.” Mr. Monger testified that he
dismissed these articles as “probably inflammatory, probably highly erroneous, [and] obviously slanted,”
and observed that “[a]nybody that depends on the newspaper, I think, is being rather short-sighted.”
Monger, Tr. 1387.

                                                  43
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 44 of 67



which is currently under IRS review.” Id.; Monger, Tr. 1363-68; Watson, Tr. 3561-63.
Despite this pending audit, in mid-May 2004, BB&T was considering extending its
STARS transaction. USX 1623. The following month, Barclays presented a proposal to
BB&T regarding “Additional STARS Financing.” USX 1623; Watson, Tr. 3558-60.

        By August 2004, BB&T executives knew that Mr. Ruble and Sidley Austin were
under investigation by the federal government, and that Mr. Ruble had been represented
in the media as blessing tax shelter products of KPMG. Monger, Tr. 1382-85. After
learning this information, BB&T requested and received assurances from Sidley Austin
that the law firm would stand behind its STARS opinions. Id. at 1385-86.

       Mr. Monger retired in October 2004, and Mr. Watson took over his position as
STARS project director at BB&T. Watson, Tr. 3576-77. On April 6, 2006, Mr. Watson
attended a meeting of the Trustee’s Board of Directors. USX 1855 at 2; Watson, Tr.
3579-81. At this meeting, Mr. Watson indicated to the directors that BB&T was
interested in extending the STARS transaction. USX 1855 at 2; Watson, Tr. 3579-81.
On May 11, 2006, the managers of InvestCo held their annual meeting, at which they
adopted a resolution authorizing action to extend STARS. USX 1865; Watson, Tr. 3581-
82.

       Internal KPMG email correspondence dated May 18, 2006 discussed a potential
extension of the STARS transaction with BB&T. USX 1869; Watson, Tr. 3576-79. The
email explained that “[t]hey’ve [BB&T] been briefed about the potential impending bad
publicity and been advised to consider diversifying their risk by looking at other
strategies and counterparts. They seem to be undaunted and want to proceed.” USX
1869. As late as June 15, 2006, BB&T was considering an extension of the STARS
transaction of up to five years. JX 272; USX 1879.

       In November 2006, the IRS issued three Information Document Requests
(“IDRs”) to BB&T related to the STARS transaction and the entities used to implement
it. USX 1908-10; Watson, Tr. 3584-86. The IRS issued three additional IDRs to BB&T
related to the STARS transaction in December 2006. USX 1923-25; Watson, Tr. 3586-
88. In January 2007, a federal court decided against BB&T in litigation involving
BB&T’s LILO transactions, which resulted in a significant tax impact to BB&T. BB&T
Corp. v. United States, 2007 WL 37798 (M.D.N.C. 2007); Watson, Tr. 3588-89.

          G. Termination of BB&T STARS

       Mr. Watson recognized that BB&T may need to terminate STARS early, in the
event of an IRS challenge to the transaction or a change in U.S. or U.K. tax law. Watson,
Tr. 3471. On March 30, 2007, the IRS published its proposed “Regulations on
Transactions Designed to Artificially Generate Foreign Tax Credits.” 72 FR 15081,
REG-156779-06, March 30, 2007. Some of KPMG’s clients terminated STARS because

                                           44
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 45 of 67



of the effect of these proposed Treasury regulations on their ability to claim foreign tax
credits for the STARS transaction. Wilkerson, Tr. 1863.

        BB&T terminated its STARS transaction as of April 5, 2007. Stip. ¶ 86; JX 168-
171; JX 184; JX 193-201. Representatives of BB&T testified at trial that BB&T
terminated STARS because it believed a potential change in U.K. tax law might cause
Barclays to terminate STARS, and wanted to “terminate it at a good time for us [BB&T]
to get financing somewhere else in the market.” Allison, Tr. 825; Watson, Tr. 2867-70.

       To terminate the STARS transaction, InvestCo purchased Barclays’ C and E Units
by paying Barclays $1,479,680,507. InvestCo purchased Barclays’ D Unit by paying
$25,079,340. Stip. ¶ 87. Because the transaction was not terminated on a regular
monthly STARS payment date, InvestCo had to pay mid-month interest: an additional
$4,680,507 over the principal amount for the C and E Units, and an additional $79,340
over the principal amount for the D Unit. JX 36. Through these payments, InvestCo
repaid the principal amount of the STARS transaction financing. Stip. ¶ 88. The Asteras
preferred shares remained outstanding until June 15, 2007, at which time InvestCo
redeemed the $65 million in preferred shares issued to Asteras. Stip. ¶ 89.

          H. Costs and Fees of BB&T STARS

                 1. Third Party Fees

       As discussed above, KPMG and BB&T negotiated and agreed to a fixed fee of
$6.5 million, plus hourly assistance. JX 254. Of that amount, $500,000 would be
deferred for each of the five projected years of STARS. Monger, Tr. 1196; JX 254. Mr.
Monger also negotiated with KMPG that it would render a minimum amount of services
for no fee in the event of an IRS audit of the STARS transaction, not to exceed 350 hours.
USX 470; Monger, Tr. 1156-1157; Watson, Tr. 3471-73, 3622-25; JX 254. Fees for
examination assistance in excess of 350 hours were to be billed at mutually agreeable
rates. JX 264. The $6.5 million in fees was “by a significant margin” the most that
BB&T had ever paid for a “tax solution.” Monger, Tr. 1191; USX 2238 at 1-2.
        Also as discussed above, BB&T retained the law firm of Sidley Austin to assist in
tax matters. Monger, Tr. 1295; JX 243. Sidley Austin was to receive a flat fee of
$300,000 for tax matters, and monthly billing at the firm’s standard rate for any corporate
law work. JX 243 at ¶ 3. BB&T paid a total of $1,355,929.91 to Sidley Austin for its
various legal opinions and other advice provided with the transaction. USX 679 at 1, 4;
USX 937 at 1-3; USX 1115; USX 1587; USX 1966; USX 2096. The total fees that
BB&T paid to KPMG and Sidley Austin represented “52 or 53 basis points” on the $1.5
billion financing. Monger, Tr. 699.




                                            45
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 46 of 67



       BB&T incurred fees for services rendered by PwC with respect to the STARS
transaction from March 16, 2002 through May 15, 2003. BB&T paid PwC a total amount
of $117,085. USX 591.
     BB&T did not pay Barclays a direct fee for its participation in the transaction.
LaRue, Tr. 5322.
                 2. Internal Administrative Costs
       BB&T executives and employees expended considerable time and resources
reviewing and implementing STARS. Monger, Tr. 602; Allison, Tr. 894. Once BB&T
entered into the STARS transaction, the BB&T general accounting department employed
many steps to implement the transaction processes, some of which could take up to seven
hours a day. Coffield, Tr. 4397-440.
       The STARS Trust structure also required expenditures within BB&T. USX 2212
at 54-55. The Trust structure required the payment of administrative costs and fees, some
of which would not have been incurred if not for the transaction. Id. at 54. Over the life
of the transaction, the Trust would have service fees of $2.2 million. Id.. BB&T also
anticipated costs for incremental operating expenses, such as “salaries, benefits & other
expenses,” as well as travel costs, amounting to $87,000 annually. USX 933 at 5; USX
2212 at 54. Additionally, special purpose entities created specifically for the transaction
required management fees possibly in excess of $2.6 million. USX 2211 at 16; USX
2212 at 54-55, 106, 116-117.

          I. Expert Witnesses

       Thirteen expert witnesses testified at trial, seven called by BB&T and six called by
the Government. The expert witnesses for BB&T were: (1) Mr. William Isaac, an expert
in banking oversight and management; (2) Dr. Christopher James, an expert in banking
and finance; (3) Dr. Thomas Lys, an expert in economics; (4) Mr. David Rosenbloom, an
expert in international tax; (5) Mr. Jonathan Peacock, an expert in U.K. tax law; (6) Mr.
Martin Brooks, an expert in U.K. tax administration; and (7) Mr. Kenneth Wild, an expert
in U.K. accounting. The Government’s experts were: (1) Dr. Michael Cragg, an expert
in economics and financial analysis; (2) Mr. Joel Finard, an expert in capital market
analysis and structured finance analysis; (3) Dr. Ira Kawaller, an expert in economics and
the use of derivative contracts; (4) Dr. David LaRue, an expert in economics, accounting
and tax compliance; (5) Mr. Isaac Zailer, an expert in U.K. tax law; and (6) Mr. Michael
Taub, an expert in U.K. accounting. While all of the experts were helpful to the Court in
varying degrees, Dr. Cragg for the Government was the single most helpful expert in
providing a comprehensive analysis of the STARS transaction.

       Dr. Cragg analyzed the source of benefits in the STARS transaction. He testified
that the benefits of STARS arose solely from artificially created U.K. taxes and foreign

                                            46
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 47 of 67



tax credits. He concluded that, as an economic matter, BB&T’s voluntary action of
subjecting its U.S.-sourced income to a U.K. tax was the source of the financial benefits
to both BB&T and Barclays from STARS. Cragg, Tr. 4548-52. He noted that in return
for BB&T circulating its income through a Delaware trust with a U.K. trustee, which
subjected the income to a U.K. tax, Barclays agreed to make monthly payments labeled
as the “Bx” to BB&T. Id. at 4463. The Bx payment represented a return or rebate by
Barclays of 51 percent of the U.K. tax paid by BB&T. Id. at 4517; Demo. Ex. 103. By
voluntarily paying U.K. taxes on U.S.-sourced income, BB&T was thereby able to claim
U.S. foreign tax credits. Cragg, Tr. 4548-52.

        Dr. Cragg also testified that the Bx payment was purely a tax effect and could not
be considered a component of interest. Id. at 4583-84, 4601. His economic analysis
showed that the netting of the Bx payments from Barclays with the monthly interest
payments on the Loan resulted in an interest rate of approximately 300 basis points below
LIBOR. Id. at 4588-89; Demo. Ex. 168. He observed that the netting of these two
payment obligations could be expected to result in a “negative interest rate” owed by
BB&T. Cragg, Tr. 4632; USX 2212 at 60-62. For the first 35 months of the Loan, the
lender, Barclays, was paying the borrower, BB&T, to borrow its funds. Dr. Kawaller
testified that it makes no economic sense for a lender to pay a borrower. Kawaller, Tr.
4632.

       Dr. Cragg also demonstrated that the STARS Trust structure consisted of a series
of economically meaningless circular cash flows, and that the STARS Trust was
separable from the Loan and had no economic purpose. Cragg, Tr. 4493-94, 4658;
Demo. Exs. 215-220. He showed that the Trust was artificially combined with the Loan,
which, excluding the U.S. tax benefits derived from STARS, was high-cost relative to
BB&T’s alternative funding opportunities. Cragg, Tr. 4646-48; Demo. Ex. 205-206.
According to Dr. Cragg, neither the Loan, nor the Trust, nor the combination of the two
offered any possibility of non-tax profit for BB&T. Cragg, Tr. 4648-49, 4610, 4671-72;
Demo. Exs. 179, 181, 208. Dr. Cragg demonstrated that ultimately the sole purpose of
STARS was to transfer more than $400 million from the U.S. Treasury to BB&T,
Barclays, and the U.K. tax authority. Cragg, Tr. 4680; Demo. Ex. 230.

        Mr. Finard testified that BB&T’s stated business purposes for the STARS
transaction were not consistent with the transaction’s financial risks and rewards. Mr.
Finard’s capital markets analysis showed that STARS was not low-cost funding and that
it did not provide liquidity risk management benefits. Finard, Tr. 5125, 5141; Demo. Ex.
80, 91. Mr. Finard concluded that, once stripped of its needless complexity, STARS
consisted of two, simple unrelated transactions – the Loan and the Trust. The two
components were artificially linked to enable BB&T to deduct U.S. tax benefits
generated by the Trust structure from the cost of the Loan, thereby making the Loan
appear to be low-cost funding. Finard, Tr. 5038-39, 5081-82, 5146-48; Demo. Ex. 19-21,
97-98.

                                           47
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 48 of 67




       Dr. Kawaller’s analysis of the cash flows of STARS demonstrated that the Bx
payments were a rebate of taxes, not an interest expense, and should not be considered in
a pre-tax profitability analysis. Kawaller, Tr. 4898-900. He established that when the Bx
payments were excluded, the STARS transaction was not profitable for BB&T. Id. at
4924-25.

       Like Mr. Finard, Dr. LaRue determined that, from an economic and analytical
perspective, the STARS transaction consisted of two functionally unrelated and discrete
components, the Trust and the Loan. LaRue, Tr. 5286; Demo. Ex. 3-5. Dr. LaRue’s
analysis of the Trust structure demonstrated that the Trust was not intrinsically capable of
generating any pre-tax economic profit. Although BB&T incurred substantial transaction
costs in establishing the Trust, the only economic benefits were from the tax rebates.
LaRue, Tr. 5306-08; Demo. Ex. 16-17.

       Mr. Zailer testified about the risk that the U.K. tax authority would challenge the
STARS transaction. Zailer, Tr. 2694. He observed that HMRC would most likely
challenge a transaction when it loses money, not where it gains revenue, such as in
STARS. Id. at 2725-29. Barclays’ correspondence with HMRC was misleading because
it suggested that Barclays was paying the extra tax. In fact, the extra revenue to HMRC
was a residual payment from the Trustee. Id. at 2701-02.

      Mr. Taub’s analysis demonstrated that Barclays was not in compliance with U.K.
Generally Accepted Accounting Principles (“GAAP”) in its financial reporting of
STARS. In particular, Barclays inappropriately accounted for the income on the monthly
C Unit distributions because the funds were simply part of a circular flow of funds having
no economic reality. Taub, Tr. 2591-92, 2606; Demo. Ex. 10-11, 21; USX 2214 at 9.

      Among Plaintiff’s experts, Dr. Lys testified that STARS generated pre-tax profit
for BB&T based on the assumption that the assets purchased by BB&T with the STARS
proceeds were incremental. Lys, Tr. 4110-11. However, BB&T would have borrowed
from other sources in the absence of STARS. Dr. Lys calculates the profitability of
STARS as the return on the Loan proceeds, id. at 4109-11, but this testimony overlooks
that BB&T would have had “loan proceeds” from any loan. This fact alone cannot
provide a non-tax business purpose for the STARS transaction. The testimony of Dr.
James suffers from the same shortcoming. James, Tr. 3633-36.

       Mr. Isaac viewed STARS as low-cost funding that was strategically important to
BB&T because it improved the bank’s liquidity, provided greater loan diversity through
international funding, and helped to fund the bank’s asset growth. Isaac, Tr. 3256-57.
However, the evidentiary record does not contain a single contemporaneous reference to
these purported benefits except for the low-cost funding. Id. at 3390-91. Indeed, the
record reflects that BB&T could have borrowed from other sources, such as the Federal

                                            48
         Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 49 of 67



Home Loan Bank Board (“FHLB”), at favorable loan rates. The unusually low financing
created under STARS is made possible purely by the rebate of U.K. taxes. The Court
commends Plaintiff’s experts for their ingenuity, but no matter how one holds the STARS
prism to the light, the benefits are driven solely by the sham circular cash flows of the
Trust.

   II.      Discussion

            A. Standards for Decision

        A tax refund suit is a de novo proceeding, “not an appellate review of the
administrative decision that was made by the IRS[.]” Wells Fargo & Co. v. United
States, 91 Fed. Cl. 35, 75 (2010) (quoting D’Avanzo v. United States, 54 Fed. Cl. 183,
186 (2002)), aff’d, 641 F.3d 1319 (Fed. Cir. 2011). Thus, in conducting its de novo
review, the Court gives “no weight . . . to subsidiary factual findings made by the [IRS]
in its internal administrative proceedings.” Id. (quoting Cook v. United States, 46 Fed.
Cl. 110, 113 (2000)).

        In addition, the plaintiff in a tax refund suit bears the burden of proving that it has
overpaid its taxes for the year in question in the exact amount of the refund sought. Id.
(citing, inter alia, Lewis v. Reynolds, 284 U.S. 281 (1932); Dysart v. United States, 169
Ct. Cl. 276, 340 F.2d 624 (1965)). This burden includes “both the burden of going
forward and the burden of persuasion,” Sara Lee Corp. v. United States, 29 Fed. Cl. 330,
334 (1993)), and must be met by a preponderance of the evidence, Ebert v. United States,
66 Fed. Cl. 287, 291 (2005). Accordingly, in order to fully or partially prevail in this
suit, Plaintiff must demonstrate, by a preponderance of the evidence, its entitlement to the
specific amount of the tax refund at issue.

            B. Treatment of U.S. Foreign Tax Credits

       The United States taxes the income of its citizens, residents, and domestic entities
on a worldwide basis – i.e., regardless of whether the income is earned domestically or
internationally. Thus, a domestic corporation must include foreign source income on its
U.S. tax returns even though that income may also have been subject to foreign taxation.
Since 1918, however, the United States has allowed domestic taxpayers in this
circumstance to claim a dollar-for-dollar credit in the U.S. for income taxes they have
paid in a foreign country. Revenue Act of 1918, Pub. L. No. 65-245, § 238(a), 40 Stat.
1057, 1080-81; current codification at 26 U.S.C. §§ 27, 901.
       As courts consistently have recognized, the purpose of the foreign tax credit is to
allow taxpayers to avoid double taxation on foreign income, and thus to “neutralize the
effect of U.S. tax on the business decision of where to conduct business activities most
productively.” Bank of New York, 140 T.C. at 46; see also United States v. Goodyear

                                              49
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 50 of 67



Tire & Rubber Co., 493 U.S. 132, 139 (1980) (noting that the history of the credit
“clearly demonstrates” that it was intended to eliminate “double taxation”); Am. Chicle
Co. v. United States, 316 U.S. 450, 451 (1942); Burnet v. Chicago Portrait Co., 285 U.S.
1, 7 (1932); Guardian Indus. Corp. v. United States, 477 F.3d 1368, 1374 (Fed. Cir.
2007); 56 Cong. Rec. App. 677-78 (1918) (statement of Rep. Kitchin); Joint Committee
on Taxation, The Impact of International Tax Reform: Background and Selected Issues
Relating to U.S. International Tax Rules and the Competitiveness of U.S. Businesses
(JCX-22-06) (noting that “[a] resident has no incentive under a worldwide [tax] system
either to move activities abroad or to keep them within the residence country. . . . Thus,
investment-location decisions [by U.S. citizens, residents, and corporations] are governed
by business considerations, instead of by tax law.”).

       The purpose of the foreign tax credit is to permit substantive business decisions to
be made largely independent of the tax consequences of the United States’ worldwide
system of taxation. Accordingly, it is well established that a taxpayer may structure its
business transactions so as to minimize its tax liability. Helvering v. Gregory, 69 F.2d
809, 810 (2d Cir. 1934) (“Any one may so arrange his affairs that his taxes shall be as
low as possible; he is not bound to choose that pattern which will best pay the Treasury;
there is not even a patriotic duty to increase one’s taxes.”) (Learned Hand, J.), aff’d,
Gregory v. Helvering, 293 U.S. 465 (1935); Boulware v. United States, 552 U.S. 421,
429 n.7 (2008). Balancing this principle is the recognition that even if a transaction
complies literally with the provisions of the Internal Revenue Code, it does not
necessarily follow that Congress intended to cover every foreign transaction and allow a
tax benefit. Bank of New York, 140 T.C. at 31 (citing, inter alia, Knetsch v. United
States, 364 U.S. 361, 365 (1960)). Instead, the determinative question when assessing
whether a party is entitled to particular tax benefit is “‘whether what was done, apart
from the tax motive, was the thing which the statute [creating the benefit] intended.’”
Knetsch, 364 U.S. at 365 (quoting Gregory v. Helvering, 293 U.S. 465, 469 (1935)).
This substance-based analysis has spawned various judicial doctrines, such as the
economic substance doctrine, that prevent the recognition of benefits from abusive tax
shelters.

       The economic substance doctrine provides that technical compliance with the tax
code notwithstanding, a taxpayer bears the burden of demonstrating that a given
transaction carries both (1) the objective possibility of realizing a pre-tax profit (objective
economic substance), and (2) a non-tax business purpose (subjective economic
substance). Wells Fargo, 91 Fed. Cl. at 81 (citing Coltec Indus., Inc. v. United States,
454 F.3d 1340, 1352 (Fed. Cir. 2006)); Stobie Creek Investments LLC v. United States,
608 F.3d 1366, 1375 (Fed. Cir. 2010). This doctrine “seeks to distinguish between
structuring a real transaction in a particular way to obtain a tax benefit, which is
legitimate, and creating a transaction to generate a tax benefit, which is illegitimate.”
Stobie Creek, 608 F.3d at 1375 (internal citations omitted) (emphasis in original).


                                              50
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 51 of 67



      In ASA Investerings Partnership v. Commissioner of Internal Revenue, 201 F.3d
505 (D.C. Cir. 2000), the D.C. Circuit eloquently described the requirement for a non-tax
“business purpose:”

               It is uniformly recognized that taxpayers are entitled to
               structure their transactions in such a way as to minimize tax.
               When the business purpose doctrine is violated, such
               structuring is deemed to have gotten out of hand, to have been
               carried to such extreme lengths that the business purpose is
               no more than a facade. But there is no absolutely clear line
               between the two. Yet the doctrine seems essential. A tax
               system of rather high rates gives a multitude of clever
               individuals in the private sector powerful incentives to game
               the system. Even the smartest drafters of legislation and
               regulation cannot be expected to anticipate every device. The
               business purpose doctrine reduces the incentive to engage in
               such essentially wasteful activity, and in addition helps
               achieve reasonable equity among taxpayers who are similarly
               situated – in every respect except for differing investments in
               tax avoidance.

ASA Investerings, 201 F.3d at 513.

       The economic substance doctrine applies in equal force to foreign tax credits.
Courts have considered the specific issue of whether the substance doctrines apply to the
availability of foreign tax credits, and have ruled in the affirmative.10 Indeed, the Tax
Court recently applied the economic substance doctrine to a similar STARS transaction
between Barclays and the Bank of New York. Emphasizing that the purpose of the
foreign tax credit is to “alleviate double taxation arising from foreign business
operations,” the court in Bank of New York held that:

               [t]he STARS transaction was a complicated scheme centered
               around arbitraging domestic and foreign tax law
               inconsistencies. The U.K. taxes at issue did not arise from
               any substantive foreign activity. Indeed, they were produced
               though pre-arranged circular flows from assets held,
               controlled and managed within the United States. We


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  See Bank of New York, 140 T.C. 15, at 46-47; Am. Int’l Grp., Inc. v. United States, No. 09-1871, 2013
WL 1286193, *4-5 (S.D.N.Y. March 29, 2013) (“AIG”); Wells Fargo v. United States, No. 09-2764 (D.
Minn. June 14, 2013); Pritired 1, LLC v. United States, 816 F. Supp. 2d 693, 740-41 (S.D. Iowa 2011);
see also IES Indus., Inc. v. United States, 253 F.3d 350, 353-54 (8th Cir. 2001); Compaq Computer Corp.
v. Comm’r, 113 T.C. 214, 225 (1999).

                                                  51
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 52 of 67



             conclude that Congress did not intend to provide foreign tax
             credits for transactions such as STARS.

140 T.C. at 46-47. Similarly, the Southern District of New York also recently applied the
economic substance doctrine to disallow a claim for foreign tax credits in AIG:

             Because Congress created the foreign tax credit for the
             taxpayer “who desires to engage in purposive activity,” and
             sought only to eliminate the disadvantage to his foreign
             business imposed by U.S. taxation of worldwide income, it
             appears not to have intended the credit be available to
             transactions “that have no economic utility and that would not
             be engaged in but for the system of taxes imposed by
             Congress” simply because the transaction caused the taxpayer
             to pay foreign tax.

2013 WL 1286193, at *4(citation omitted) (quoting Goldstein v. Comm’r, 364 F.2d 734,
741, 742 (2d Cir. 1966)).

       The application of the economic substance doctrine to foreign tax credits is fully
consonant with the purpose behind such credits: to establish neutrality through the
elimination of double taxation that would arise in the absence of foreign tax credits.
Thus, the requirements of the economic substance doctrine – namely, that a transaction
be pre-tax profitable and have a non-tax business purpose – are fully compatible with the
foreign tax credit regime. See AIG, 2013 WL 1286193, at *3 (“Congress intended the
[foreign tax] credit to facilitate purposive business transactions, not by subsidy, but by
restoring the neutrality of the tax system.”); Pritired, 816 F. Supp. 2d at 741 (“[Foreign
tax credits] are available to prevent double-taxation, not to generate an enhanced return
on the basis of structuring transactions to increase the available [foreign tax credits].”)
(emphasis in original). Accordingly, there is no foreign tax credit exception to the
economic substance doctrine.

          C. Economic Substance of STARS

       As noted above, a taxpayer bears the burden of proving that the challenged
transaction had (1) objective economic substance and (2) a non-tax business purpose.
Wells Fargo, 91 Fed. Cl. at 81 (citing, inter alia, Coltec, 454 F.3d at 1355-56). The
objective inquiry focuses on whether the transaction created a reasonable opportunity of
making a profit from the transaction. Coltec, 454 F.3d at 1356; Bank of New York, 140
T.C. at34. The subjective, non-tax business purpose inquiry focuses on whether “the
taxpayer’s sole subjective motivation is tax avoidance,” including whether the transaction
is “shaped solely by tax-avoidance features.” Coltec, 454 F.3d at 1355, 1355 n.13
(quoting Frank Lyon Co. v. United States, 435 U.S. 561, 583-84 (1978)). The transaction

                                            52
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 53 of 67



to be analyzed is the one that gave rise to the alleged tax benefit, id. at 1356, “even if it is
part of a larger set of transactions or steps,” Bank of New York, 140 T.C. at 33 (citing,
inter alia, Nicole Rose Corp. v. Comm’r, 320 F.3d 282, 284 (2d Cir. 2002 ). “Stated
another way, the requirements of the economic substance doctrine are not avoided simply
by coupling a routine transaction with a transaction lacking economic substance. A
contrary application would undermine the flexibility and efficacy of the economic
substance doctrine.” Id. (citation omitted); see also Coltec, 454 F.3d at 1356 (observing
that a taxpayer cannot show a non-tax business purpose “simply by showing some factual
connection . . . to an otherwise legitimate transaction”) (quoting Basic Inc. v. United
States, 212 Ct. Cl. 399, 409, 549 F.2d 740 (1977)).

        The first step in the economic substance inquiry is to identify the transaction to be
analyzed. The Government urges that the Trust and the Loan are economically distinct,
and that as a matter of both law and economics, the Court should conduct an analysis of
the Trust as a stand-alone transaction. Plaintiff opposes this view, arguing that STARS
“must be analyzed as a single, integrated transaction because the so called ‘components’
. . . were linked by the business and commercial realities of the parties[.]” Pl.’s Br. 217.
The Court agrees with the Government that the links between the Trust and Loan
components of STARS are artificial, and further, that the disputed foreign tax credits are
attributable solely to the Trust. Accordingly, the Court will bifurcate the STARS
transaction and examine the Trust structure for economic substance, independent of the
Loan. However, the Court also will apply the economic substance analysis through the
lens of STARS as an integrated transaction. As demonstrated below, the STARS
transaction also lacks economic substance when the Trust and the Loan are examined
together.

           D. Bifurcated Analysis

                  1. The STARS Trust Structure

       The STARS Trust structure consisted of a number of newly created and one
existing special purpose entities. BB&T used the Trust structure to subject its income
from assets in the United States to tax in the United Kingdom without otherwise altering
that income or its management and control of the assets. BB&T accomplished the U.K.
tax effect by circulating the income among the STARS entities, and into and out of a
blocked account. The disputed foreign tax credits are entirely attributable to the Trust
structure and not to the Loan. The creation of the Trust and the circulation of income
were not required to activate a loan from Barclays to BB&T, and the existence of a loan
was not required for the STARS Trust to generate the tax credits at issue. In fact, the
Court notes that STARS initially was designed to generate the same foreign tax credits
without any loan component. In the early iterations of STARS, the Bx payment served
simply to enhance the revenue being earned on the Trust assets. Peacock, Tr. 2309.


                                              53
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 54 of 67



       The STARS Trust consisted of three principal circular cash flows. A circular cash
flow is a set of offsetting cash entries that lack economic importance. “Courts have
consistently recognized that the presence of circular cashflows strongly indicates that a
transaction lacks economic substance.” Bank of New York, 140 T.C. at 36; see also
Consol. Edison Co. v. United States, 703 F.3d 1367, 1375 (Fed. Cir. 2013) (“[W]e easily
concluded that the court was ‘left with purely circular transactions that elevate[d] form
over substance.’” (quoting Wells Fargo & Co. v. United States, 641 F.3d 1319, 1330
(Fed. Cir. 2011)). It hardly requires mention that no profit and no risk will occur in a
circular cash flow. Wild, Tr. 2354.11

        In the first circular cash flow, BB&T caused an entity called DelCo to make
monthly distributions to the Trust which the Trust immediately returned to DelCo.
Cycling the income from DelCo to the Trust had the effect of subjecting the income to
U.K. tax without changing the substance or character of the income. In the second
circular cash flow, BB&T cause the Trust to deposit a predetermined amount into a
blocked account, and then to withdraw that amount immediately. This circular cash flow
was necessary to allow Barclays to claim a U.K. tax loss for the purported reinvestment
of the 99 percent portion of the Trust’s income. Barclays was nominally entitled to this
amount, but the transaction had no economic effect. In the third circular cash flow,
BB&T cycled tax through the U.K. taxing authority, then to Barclays, and then back to
itself. This cash flow also was meaningless from an economic perspective. The final
step in the process was the payment of the Bx. The Trust structure’s primary activity was
executing these meaningless monthly transfers, none of which had any economic
substance.

       The Bx payments under STARS simply represented a rebate to BB&T of one-half
of the U.K. taxes to which BB&T voluntarily subjected itself. The rebates embodied in
the Bx payments were directly proportional to the amount of U.K. taxes paid. The
greater the amount of revenue produced by the C Unit distributions of the Trust, the
higher the U.K. taxes would be, and the higher the Bx payments would be to BB&T.
STARS thus had the counterintuitive result that the greater the amount of foreign taxes
paid by the taxpayer, the greater the amount of profit realized from the Bx rebate
payments.

       In evaluating a transaction for pre-tax profit, a court must determine which aspects
are real economic effects and thus non-tax items, and which are tax effects. See In re CM
Holdings, Inc., 301 F.3d 96, 103 (3d Cir. 2002) (“The main question these different
formulations address is a simple one: absent tax benefits, whether the transaction affected
the taxpayer’s financial position in any way.”); see also Coltec, 454 F.3d at 1356 n.16;

11
   When asked if two people could make a profit “if I agree to give you $10 and you agree to give me
$10, and we do that repeatedly once a month for five years,” Mr. Wild answered “[w]e would not make a
profit from doing that.” Wild, Tr. 2534.

                                                 54
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 55 of 67



Wells Fargo, 91 Fed. Cl. at 82 (collecting cases). Courts must isolate tax effects and
examine the aspects of the transaction that are economically substantive absent the tax.
See Frank Lyon Co. v. United States, 435 U.S. 561, 573 (1978) (holding that the
objective economic reality controls rather than the form chosen by the parties); BB&T
Corp. v. United States, 523 F.3d 461, 471 (4th Cir. 2008) (noting “[a] taxpayer may not .
. . claim tax benefits . . . by affixing labels to its transactions that do not accurately reflect
their true nature.”); Wells Fargo, 91 Fed. Cl. at 75-76.

      In the Bank of New York case, the Tax Court referred to the Bx payment as the
“spread,” holding:

               The spread artificially reduced the loan’s cost and lacked
               economic reality. In substance the spread was contingent on
               the parties’ anticipated tax treatment and was unrelated to the
               time value of money or the attendant risks associated with the
               loan. We conclude, on the record as a whole, that the spread
               was in substance not a component of loan interest. The
               spread rather was a tax effect. It was embedded in the loan to
               serve as a device for monetizing and transferring the value of
               anticipated foreign tax credits generated from routing income
               through the STARS structure.

Bank of New York, 140 T.C. at 42-43. By design of the STARS transaction, the value of
BB&T’s U.K. tax payment ends up in the hands of Barclays. Barclays then paid BB&T
for subjecting itself to a U.K. tax. However, the return to BB&T of one-half of its U.K.
tax did not constitute profit for BB&T. The Bx payment simply reimbursed BB&T for
one-half of its out-of-pocket U.K. tax costs on the transaction. The transaction became
immensely profitable to BB&T when it claimed U.S. foreign tax credits for a U.K. tax
cost that it had not in substance paid.

        BB&T’s artificial pairing of Barclays’ Bx payments (representing in substance a
rebate of its U.K. tax payments) with BB&T’s interest payments to Barclays, does not
reflect economic reality. The economic nature of the Bx payments simply is a tax effect,
and in particular a U.S. tax effect, and not that of a reduction of interest income as BB&T
would have the Court view them.

       Income from BB&T’s pre-existing assets cycled through the STARS Trust was
not profit from STARS. The economic substance inquiry “focuses on whether there was
a reasonable possibility of making a profit from the transaction.” Stobie Creek, 608 F.3d
at 1376-77. This inquiry focuses on what a reasonably prudent investor would have
found from looking at the transaction prospectively. Id. (citing Gilman v. Comm’r, 933
F.2d 143, 146-47 (2d Cir. 1991)); Fidelity Int’l Currency Advisor A Fund, LLC v. United
States, 747 F. Supp. 2d 49, 231-32 (D. Mass. 2010), aff’d, 661 F.3d 667 (1st Cir. 2011).

                                               55
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 56 of 67



Applying this test, courts have found that transfers of income-producing assets to
controlled entities do not imbue an arrangement with substance if the transfer has no
incremental effect on the taxpayer’s activities. Gregory, 293 U.S. at 469 (holding that a
contribution of assets to a special purpose entity did not imbue a transaction with
substance); Southgate Master Fund v. United States, 659 F.3d 466, 491-92 (5th Cir.
2011) (disregarding partnership used to acquire loan receivables); Coltec, 454 F.3d at
1354 (disregarding management benefits that were available without undertaking
contributions to a special purpose entity); ACM P’ship v. Comm’r, 157 F.3d 231, 249-52
(3d Cir. 1998) (disregarding returns on Citicorp notes where economic returns on capital
were unaffected by the transaction); Zmuda v. Comm’r, 731 F.2d 1417, 1421 (9th Cir.
1984) (disregarding contribution of income-producing assets to foreign trusts); Gerdau
Macsteel, Inc. v. Comm’r, 139 T.C. 67, 173-74 (2012) (only incremental cash flows that
the taxpayer would not have obtained in the absence of the transaction should be
considered in testing whether there is a reasonable expectation of non-tax benefits).

       The Court concludes that the STARS Trust must be disregarded as a sham
structure. Under both the economic substance and substance-over-form doctrines, the
creation and use of sham structures to achieve tax benefits are disregarded for federal tax
purposes. Southgate Master Fund, 659 F.3d at 491-92; Schell v. United States, 589 F.3d
1378, 1382 (Fed. Cir. 2009); Fidelity Int’l Currency Advisor, 747 F. Supp. 2d at 233 (“If
a partnership is found to be a sham, the partnership should be disregarded, and the
partnership’s activities are deemed to be engaged in by one or more of the partners.”). A
sham structure that lacks a non-tax business purpose and is “unreal” or “a bald and
mischievous fiction” must also be disregarded. Moline Props., Inc. v. Comm’r, 319 U.S.
436, 439 (1943).

        The STARS Trust had no non-tax business purpose. Its sole function was to self-
inflict U.S.-sourced BB&T income in order to reap U.S. and U.K. tax benefits. The case
law is quite clear that “whether the ‘sham’ be in the entity or the transaction . . . the
absence of a nontax business purpose is fatal.” ASA Investerings, 201 F.3d at 512; see
also Andantech LLC v. Comm’r, 331 F.3d 972, 978 (D.C. Cir. 2003).

                 2. The STARS Loan

       The STARS Loan lacked economic substance because it was not structured to
make a profit, but instead was devised to provide BB&T with a pretext for a purported
business purpose for engaging in a sham transaction. The Loan simply was a method by
which to camouflage Barclays’ rebate of a portion of BB&T’s U.K. tax payments,
through payment of the Bx. Absent the tax benefits, the cost of the Loan was
considerably higher than BB&T’s normal cost of borrowing for similar loans. The record
supports the conclusion that BB&T chose to terminate the transaction when the tax
benefits associated with STARS were threatened. The Loan in reality had no non-tax
business purpose and had no possibility of pre-tax profit.

                                            56
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 57 of 67




       The pre-tax profit test requires an objective analysis from the perspective of a
prudent investor of whether there was a reasonable possibility of making a profit from the
transaction apart from tax considerations. Stobie Creek, 608 F.3d at 1376-77. It is quite
true that STARS improved BB&T’s bottom line based solely on tax benefits. However,
the Bx payment cannot be considered pre-tax profit on the Loan because it was generated
by circular cash flows designed for tax purposes and thus is purely a tax effect of the
transaction.

       Excluding the Bx payment, the cost of borrowing on the STARS Loan was LIBOR
+ 25 basis points. This rate was significantly higher than rates on comparable sources of
funds available to BB&T by a magnitude of 30 basis points or more. Finard, Tr. 5124-
25. BB&T had plenty of less expensive funding resources available during the years in
question. Cragg, Tr. 4621-22; USX 1002. Absent strong economic reasons, large
commercial banks do not engage in financing transactions at rates of 25 to 35 basis points
higher than their market sources of funding, particularly as to loans over $1 billion.
BB&T has not demonstrated the presence of such economic reasons.

       BB&T argues that its interest rate for the STARS Loan should be compared to its
interest rates for long-term funding, but this assertion is incorrect. The term of the
funding, like the pricing, must be considered absent the tax benefits. The agreement with
Barclays was that the Loan rate would be based on a 30-day LIBOR rate, and either party
had the right to terminate the transaction within 30 days. The only reason to continue the
Loan for the five-year life of STARS was because of the purported low-cost funding.
However, the low-cost funding was entirely the product of the tax benefit, not because of
any economic benefit. Absent the tax benefits, BB&T would have terminated the
transaction immediately, which it in fact did in April 2007 when there was concern that
the tax benefits would disappear.

        In examining the profitability of the STARS transaction, the Court declines to
consider the income from BB&T’s use of the Loan proceeds. Although BB&T surely
would use the Loan proceeds to generate revenue, this fact is irrelevant for purposes of
the economic substance analysis. See Schering-Plough Corp. v. United States, 651 F.
Supp. 2d 219, 265-67 (D.N.J. 2009) (“[T]he use for which a disputed transaction is put is
not relevant in determining whether the transaction itself has sufficient substance.”), aff’d
sub nom. Merck & Co. v. United States, 652 F.3d 475 (3d Cir. 2011); see also In re CM
Holdings, Inc., 254 B.R. 578, 638-39 (D. Del. 2000) (“The Court must focus on the
purpose of the underlying transaction at issue here, not what [the taxpayer] intended to do
with the proceeds . . . . What the cash flows derived from this transaction were to be used
for is irrelevant for . . . the economic substance analysis.”), aff’d, 301 F.3d 96 (3d Cir.
2002); Am. Elec. Power Co., Inc. v. United States, 326 F.3d 737, 744 (6th Cir. 2003)
(“Money generated by means of abusive tax deductions can always be applied to
beneficial causes, but the eventual use of the money thus generated is not part of the

                                             57
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 58 of 67



economic-sham analysis.”); Winn-Dixie Stores, Inc. v. Comm’r, 113 T.C. 254, 287
(1999) (rejecting taxpayer’s claim that funding employee benefits with tax savings was
legitimate non-tax business purpose because “[i]f this were sufficient to breathe
substance into a transaction whose only purpose was to reduce taxes, every sham tax-
shelter device might succeed.”), aff’d, 254 F.3d 1313 (11th Cir. 2001).

        There is no evidence that BB&T took into account the use of the Loan proceeds in
deciding whether to enter the STARS transaction. Under any circumstance, BB&T
would have used the Loan proceeds to generate revenue for the bank, regardless of where
it obtained the Loan proceeds. The evidence shows that BB&T viewed the Bx payments
as its source of profit on the STARS transaction. However, a taxpayer must establish
with contemporaneous evidence that it objectively anticipated a profit from the
transaction apart from the tax benefits. See Goldstein v. Comm’r, 364 F.2d 734, 739 (2d
Cir. 1966) (disallowing deductions where taxpayers’ contemporaneous evidence failed to
establish any anticipated profit potential apart from tax consequences of transactions);
ACM P’ship, 157 F.3d at 257 (Colgate’s “failure to conduct a contemporaneous profit
analysis support[s] the Tax Court’s conclusion that ACM’s transactions were not
designed or reasonably anticipated to yield a pre-tax profit”).

      Here, the contemporaneous documents show that Barclays, KPMG, and BB&T all
considered the profit on STARS to come solely from Barclays’ rebate of the U.K. taxes,
with BB&T then claiming foreign tax credits for the amount rebated. The Loan proceeds
should not be taken into account in a profit calculation because such proceeds would have
been available in any alternative funding scenario. Due to the complexity of STARS,
BB&T’s costs on the STARS Loan are much higher than they would have been on
simpler, alternative funding. STARS did not provide BB&T with any incremental
economic benefits on the Loan.

          E. Integrated Transaction Analysis

       BB&T contends that the Court should review the STARS transaction as a single
integrated agreement, and thereby evaluate the business purpose of STARS with the
Trust and the Loan together. BB&T argues that the existence of the Trust permits
Barclays to offer BB&T a $1.5 billion loan at very favorable interest rates. Viewed in
this way, the STARS transaction simply creates a method in which Barclays and BB&T
can use foreign tax credits to provide a sizable loan at 300 basis points below LIBOR.

       Case law instructs the Court to consider the economic realities of a transaction
instead of the form of agreement that the parties employed. In Frank Lyon Co., the
Supreme Court ruled:

             In applying this doctrine of substance over form, the Court
             has looked to the objective economic realities of a transaction

                                           58
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 59 of 67



             rather than to the particular form the parties employed. The
             Court has never regarded “the simple expedient of drawing up
             papers” as controlling for tax purposes when the objective
             economic realities are to the contrary. “In the field of
             taxation, administrators of the law and the courts are
             concerned with substance and realities, and formal written
             documents are not rigidly binding.”

435 U.S. at 572-73 (emphasis added) (citations omitted) (quoting Comm’r v. Tower, 327
U.S. 280, 291 (1946); Helvering v. Lazarus & Co., 308 U.S. 252, 255 (1938). Similarly,
in Coltec, the Federal Circuit observed:

             First, although the taxpayer has an unquestioned right to
             decrease or avoid his taxes by means which the law permits,
             Gregory, 293 U.S. at 469, 55 S. Ct. 266, the law does not
             permit the taxpayer to reap tax benefits from a transaction
             that lacks economic reality.
                                          ***
             Third, the economic substance of a transaction must be
             viewed objectively rather than subjectively. The Supreme
             Court cases and our predecessor court’s cases have repeatedly
             looked to the objective economic reality of the transaction in
             applying the economic substance doctrine.

454 F.3d at 1355, 1356 (emphasis added). More recently, in Consolidated Edison,
involving a LILO transaction, the Federal Circuit similarly stated:

             As we stated in Coltec, judicial anti-abuse doctrines “prevent
             taxpayers from subverting the legislative purpose of the tax
             code.”    One such doctrine is the substance-over-form
             doctrine. Under this doctrine, courts determine ‘the tax
             consequences of a transaction . . . based on the underlying
             substance of the transaction rather than its legal form.” “The
             major purpose of the substance-over-form doctrine is to
             recharacterize transactions in accordance with their true
             nature.”

703 F.3d at 1374 (emphasis added) (citations omitted) (quoting Southgate Master Fund,
659 F.3d at 491-92; Wells Fargo, 641 F.3d at 1325; Coltec, 454 F.3d at 1354
       Applying these principles here, the STARS transaction must be seen for what it
really is. By creating a trust arrangement with nothing but circular cash flows, and
momentarily placing funds in the hands of a U.K. trustee before it is returned, Barclays
and BB&T artificially caused a U.K. tax on U.S.-sourced revenue. There was no

                                          59
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 60 of 67



substantive economic activity occurring in the U.K. to warrant a U.K. tax. Yet, by
subjecting the Trust funds to a U.K. tax, Barclays and BB&T were able to share the
benefits of foreign tax credits, which resulted in a 51 percent rebate of a Bx payment to
BB&T. The surprisingly low interest rate to BB&T on the $1.5 billion Loan, 300 basis
points below LIBOR, was made possible solely because of the fruits of the Trust
arrangement. In reality, the U.S. Treasury is funding the monetary benefits realized by
BB&T, Barclays, and the U.K. Treasury. No aspect of the STARS transaction has any
economic reality.

          F. Penalties

        “The Federal tax system is primarily one of self-assessment, whereby each
taxpayer computes the tax due and then files the appropriate form of return along with the
requisite payment.” United States v. Galletti, 541 U.S. 114, 122 (2004) (internal
quotation marks omitted). When a taxpayer underpays his taxes due to, inter alia,
negligence or a substantial understatement of tax, the Internal Revenue Code assesses
penalties. 26 U.S.C. § 6662. Section 6662 imposes a 20 percent penalty on any portion
of an underpayment that is attributable to “[n]egligence or disregard of rules or
regulations” or “[a]ny substantial understatement of income tax.” § 6662(b)(1-2). These
accuracy-related penalties are not cumulative; therefore, the maximum accuracy-related
penalty imposed on any portion of an understatement is 20 percent. Treas. Reg. § 1.662-
2(c); Alpha I, L.P. v. United States, 93 Fed. Cl. 280, 301 (2010). As will be discussed
below, § 6664(c)(1) provides an absolute defense to accuracy-related penalties assessed
for an underpayment “if it is shown that there was reasonable cause for such portion and
that the taxpayer acted in good faith with respect to such portion.”

       The Government asserts that BB&T is subject to penalties for negligence and
substantial understatement of income tax. Plaintiff asserts the defenses of substantial
authority, reasonable reliance on tax professionals, adequate disclosure, and reasonable
cause and good faith.

                 1. Negligence

        Section 6662 imposes an accuracy-related penalty of 20 percent for any portion of
the underpayment which is attributable to “[n]egligence or disregard of rules or
regulations.” § 6662(b). For purposes of this penalty, “the term ‘negligence’ includes
any failure to make a reasonable attempt to comply with the provisions of this title, and
the term ‘disregard’ includes any careless, reckless, or intentional disregard” of tax rules
and regulations. § 6662(c). “Negligence is strongly indicated where . . . [a] taxpayer
fails to make a reasonable attempt to ascertain the correctness of a deduction, credit or
exclusion on a return which would seem to a reasonable and prudent person to be ‘too
good to be true’ under the circumstances.” Treas. Reg. § 1.6662-3(b)(1)(ii). “[W]hen a
taxpayer is presented with what would appear to be a fabulous opportunity to avoid tax

                                            60
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 61 of 67



obligations, he should recognize that he proceeds at his own peril.” Alpha I, 93 Fed. Cl.
at 302 (quoting Neonatology Assocs., P.A. v. Comm’r, 299 F.3d 221, 234 (3d Cir. 2002))
(internal quotation marks omitted).


       A taxpayer is not negligent when there is a reasonable basis for the position taken.
Treas. Reg. § 1.6662-3(b)(1). The reasonable basis standard is relatively high, and “is
not satisfied by a return position that is merely arguable or that is merely a colorable
claim.” Id. at § 1.6662-3(b)(3). Good faith reliance on professional advice may provide
a reasonable basis, but such reliance “must be objectively reasonable; taxpayers may not
rely on someone with an inherent conflict of interest . . . .” Stobie Creek, 82 Fed. Cl. at
709 (quoting Chamberlain v. Comm’r, 66 F.3d 729, 732 (5th Cir. 1995)). Thus, “the
defense of reliance on professional advice prevails only if, under all the circumstances,
(1) the advice itself is reasonable . . . and (2) the taxpayer’s reliance thereon is
reasonable.” Stobie Creek, 82 Fed. Cl. at 712.

                        a. Reasonableness of the advice
       In determining whether the professional advice itself was reasonable, courts look
to whether the advice is based on accurate information and representations supplied by
the taxpayer, whether there was a reasonable investigation into the transaction, and
whether it contains any unreasonable or unsupported assumptions. Id. Here, KPMG was
the principal marketer of STARS, and provided BB&T with advice as to the viability and
profitability of the transaction. As discussions between KMPG and BB&T progressed,
BB&T became concerned that if challenged, the IRS may determine that STARS lacked
economic substance. KPMG advised BB&T that the possibility of a court finding BB&T
to have engaged in a sham transaction was “so remote as to not need to be considered.”
USX 564. KPMG further advised that even if STARS was found to lack economic
substance, BB&T would nevertheless be allowed a deduction for the U.K. taxes.
Monger, Tr. 1253-55. The Court finds this assertion (and BB&T’s reliance thereon) to be
unreasonable and unsupported. KPMG’s assumption that BB&T could claim a deduction
for U.K. taxes even if STARS was found to lack economic substance flies in the face of
the accepted principle that a transaction lacking in economic substance is disregarded for
tax purposes. See, e.g., Coltec, 454 F.3d at 1355. KPMG’s overarching advice was that
BB&T should engage in an economically meaningless transaction to achieve foreign tax
credits for taxes BB&T had not in substance paid. Thus, because KPMG’s advice was
based on unreasonable and unsupported assumptions, the Court finds KPMG’s advice
unreasonable.

      Based on KPMG’s recommendation, BB&T also selected the law firm of Sidley
Austin, and in particular, Raymond J. Ruble, to provide tax advice and a formal opinion
on STARS. BB&T did not formerly engage Sidley Austin until May 7, 2002. JX 264.
However, on April 30, 2002, Mr. Ruble forwarded to BB&T a redacted tax opinion
endorsing the STARS transaction, which had been prepared for another client. USX 599;

                                            61
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 62 of 67



Monger, Tr. 927. This tax opinion detailed a very similar STARS transaction, with the
exact same entity names, such as InvestCo, Manager, NewCo, and DelCo. USX 599;
Monger, Tr. 927-28. Although the final BB&T STARS tax opinion was tailored in part
to BB&T specifically, a review of Mr. Ruble’s other legal tax opinions on the STARS
transaction reveals that his favorable opinions were largely pre-fabricated and pre-
determined. Compare PX 174 with USX 1502 and USX 464. Similar to the advice of
KPMG, Sidley Austin’s advice and opinion letters endorsed and advocated the
promulgation of economically meaningless transactions. Because Sidley Austin’s tax
opinion was premised on the unreasonable and unsupported assumption that technical
compliance with U.S. tax law would allow the IRS to give its imprimatur to an
economically meaningless transaction, the Court finds Sidley Austin’s advice
unreasonable.

                           b. Reasonableness of the reliance

       In determining whether a taxpayer’s reliance on professional advice was
reasonable, courts evaluate any potential conflict of interest, the taxpayer’s knowledge
and expertise, and whether the transaction seems “too good to be true.” See, e.g., Stobie
Creek, 82 Fed. Cl. at 712; Neonatology, 299 F.3d at 233-34. As mentioned above,
KPMG was the principal promoter of STARS to BB&T. KPMG marketed the STARS
transaction to BB&T, and would not receive any of its $6.5 million fee unless and until
BB&T closed on the STARS transaction. Prior to the closing date of STARS, BB&T
knew that KPMG was involved in the design of the STARS structure and that KPMG
reviewed Barclays’ design of the STARS transaction. Monger, Tr. 614-19. BB&T also
was aware that KPMG was “on both sides” of the transaction between Barclays and
BB&T, and that KPMG thus had a blatant conflict of interest. PX 67. Indeed, the head
of KPMG’s Department of Professional Practice for tax matters expressed concern about
KPMG’s ability to issue a “should-level” opinion. DeLap Dep., 62-67, 75-76; USX 241;
USX 243. Despite knowing that KPMG had prior involvement with the STARS
transaction, BB&T did not seek an independent tax opinion. Watson, Tr. 2845. 12

       Similarly, at the time BB&T received Sidley Austin’s tax opinion and
subsequently retained the law firm (on KPMG’s recommendation), BB&T was aware that
Sidley Austin was a co-developer of STARS and that it had previously provided a
favorable tax opinion of STARS to another bank. Monger, Tr. 615-16; JX 255. Thus,
both KPMG and Sidley Austin stood to profit considerably from BB&T’s adoption of the
transaction, and BB&T knew or should have known that their advice would not be
impartial and independent. In agreeing to Sidley Austin’s engagement letter, BB&T was
12
   The Court finds it remarkable that BB&T would retain KPMG for $6.5 million in fees for tax advisory
services, given KPMG’s conflict of interest in also promoting STARS on behalf of Barclays, and
receiving fees from Barclays upon the closing of each new STARS transaction. See, e.g., USX 278 at 4
(“STARS is a joint venture between KPMG and Barclays.”)


                                                 62
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 63 of 67



asked to waive any conflicts that Sidley Austin had with Barclays, but BB&T did not
even inquire about the services that Sidley Austin was or had been performing for
Barclays. Monger, Tr. 1297-99. As the Third Circuit stated in Neonatology:

                It may well be that reliance on the advice of a professional
                should only be a defense when the professional’s fees are not
                dependent on his opinion. For example, it is not immediately
                evident why a taxpayer should be able to take comfort in the
                advice of a professional promoting a tax shelter for a fee.
                After all, that professional would have an interest in his
                opinion.

299 F.3d at 234 n.22. Because both KPMG and Sidley Austin13 had a significant interest
in convincing BB&T to engage in the STARS transaction, the Court cannot say that
BB&T acted reasonably in relying on their advice. See Alpha I, 93 Fed. Cl. at 316 (“It is
well established that taxpayers generally cannot reasonably rely on the professional
advice of a tax shelter promoter.” (quoting Edwards v. Comm’r, 84 T.C.M. (CCH) 24
(2002)); Pasternak v. Comm’r, 990 F.2d 893, 903 (6th Cir. 1993) (upholding negligence
penalty where “the purported experts were either the promoters themselves or agents of
the promoters. Advice of such persons can hardly be described as that of ‘independent
professionals.’”). Here, Sidley Austin sent BB&T a favorable draft opinion letter about
STARS before BB&T had even engaged this law firm. Monger, Tr. 1265-67.

        BB&T’s engagement with PwC is insufficient to remove the taint of
unreasonableness from the professional tax advice relied upon. PwC’s involvement in
the STARS transaction does not create a reasonable basis for BB&T’s tax position
because: (1) BB&T reported only Barclays, KPMG, and Sidley Austin as its tax advisors
to the STARS transaction, JX 234; (2) PwC explicitly informed BB&T that it “in no way
[was] providing an Opinion” regarding STARS, JX 259; and (3) PwC’s audit advice was
informed by the unreasonable and unsupported representations made by KPMG and
Sidley Austin, Boss, Tr. 2042-46; USX 568; JX 859. Moreover, PwC ultimately arrived
at a “less than should” level of comfort that the IRS would accept the STARS transaction.
Boss, Tr. 2098, 2117-18; USX 951A at 7183-84; USX 553, 601, 611. During exceptional
cross-examination by Defendant’s counsel, PwC’s Mr. Boss was evasive and had few
answers for the glaring weaknesses that PwC should have seen in the STARS transaction.
Boss, Tr. 2131-41.


13
  Mr. Ruble’s incentive to issue favorable STARS tax opinions is further highlighted in his 2001 internal
memorandum regarding his law firm compensation package. USX 85 at 4. In this memorandum, Mr.
Ruble stated “I intend to continue to exploit ties with KPMG . . . in connection with the development of
structured tax products.” Id. He further noted that “the success of this practice is highly dependent upon
the absence of anti-shelter legislation and similar IRS positions.” Id.


                                                   63
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 64 of 67



       Additionally, the BB&T executives that reviewed the economic and tax effects of
the STARS transaction are highly educated and well-versed in banking transactions and
financing deals. These individuals knew or should have known that claiming nearly $500
million in foreign tax credits by subjecting income to economically meaningless activities
was “too good to be true.” Indeed, the evidence shows that BB&T executives were
extremely skeptical of the tax benefits of STARS, as the potential downside tax risks
were the subject of much correspondence and presentation. Monger, Tr. 1102-04, 1126-
37; Watson, Tr. 3466-69. Moreover, Mr. Monger generated many spreadsheet analyses
calculating BB&T’s potential economic return on STARS in the event that the IRS
disallowed the foreign tax credits. USX 437.

        BB&T’s concern over the tax risk was significantly reflected in the negotiations
and eventual fee arrangement with KPMG. In a meeting with KPMG, BB&T
representatives expressed a “concern[] that KPMG needs to have some of the fee at
risk[]” and a desire to “reduce [BB&T’s] exposure in the event of an early termination of
the transaction.” Monger, Tr. 1156-57; USX 470. BB&T negotiated that KPMG would
provide audit assistance if the IRS challenged the transaction. JX 254. This skepticism
on the part of BB&T was well-founded, because as a successful financial holding
company with banking subsidiaries in over twelve states, JX 209, it surely would have
recognized that the ability to claim nearly $500 million in foreign tax credits merely by
subjecting its assets to U.K. taxation was too good to be true. See Neonatology, 299 F.3d
at 234 (“When, as here, a taxpayer is presented with what would appear to be a fabulous
opportunity to avoid tax obligations, he should recognize that he proceeds at his own
peril.”).

       Thus, the fact that BB&T relied on the advice of promoters of the STARS tax
shelter despite having ample capacity to recognize that the transaction was “too good to
be true,” thoroughly vitiates any reasonable basis for BB&T’s tax position. Accordingly,
Plaintiff is liable for the 20 percent negligence penalty, unless it can establish reasonable
cause and good faith, a defense addressed below.

                   2. Substantial Understatement

       Under § 6662, an understatement is substantial if it exceeds the lesser of 10
percent of the tax required to be shown on the return for the taxable year or
$10,000,000.14 § 6662(d)(1)(B). The amount of any understatement can be reduced for
any portion as to which the taxpayer can either establish substantial authority for the
position the taxpayer took or demonstrate a reasonable basis for the claimed tax
treatment, coupled with adequate disclosure. § 6662(d)(2)(B). For the tax years at issue,

14
  Section 6662 was amended in 2004. For the years 2002 and 2003, an understatement is substantial if it
exceeds the greater of 10 percent of the tax required to be shown on the return or $10,000.


                                                  64
       Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 65 of 67



these defenses are modified when a tax shelter is involved. See, e.g., § 6662(d)(2)(C);
Stobie Creek, 82 Fed. Cl. at 705.15

       To avoid the penalty in the case of a corporate tax shelter, the taxpayer must
establish (1) that there was substantial authority for the tax treatment and (2) that the
taxpayer reasonably believed that the reported treatment of an item was more likely than
not the proper treatment. Treas. Reg. § 1.6662-4(g)(1); see also § 6662(d)(2)(C)(i);
Alpha I, 93 Fed. Cl. at 321.16 The substantial authority standard is an objective standard,
which is met only if the “weight of the authorities supporting the treatment is substantial
in relation to the weight of the authorities supporting contrary treatment.” Treas. Reg.
§ 1.6662-4(d)(3)(i). The weight given to each authority depends on its relevance,
persuasiveness, and source. Id. § 1.6662-4(d)(3)(ii). “Conclusions reached in treaties,
legal periodicals, legal opinions, or opinions rendered by tax professionals are not
authority.” Id. at § 1.6662-4(d)(3)(iii); Alpha I, 93 Fed. Cl. at 322 (“Reliance on advice
by tax professionals is specifically excluded in deciding whether substantial authority
exists for a particular tax treatment.”). When a transaction is found to lack economic
substance, no authority, much less substantial authority, supports the claimed tax
treatment. Stobie Creek, 82 Fed. Cl. at 706, 706 n.64, (finding that transactions lacked
economic substance precluded plaintiffs from establishing existence of substantial
authority to support tax treatment).

        As discussed in detail above, the STARS transaction lacked economic reality
because it was unsupported by a tax-independent business purpose. Thus, because the
transaction’s significant purpose was “the avoidance or evasion or Federal income tax,”
STARS falls within the statutory definition of a “tax shelter.” § 6662(d)(2)(C)(iii). Not
only was the STARS transaction a tax shelter, but it was also an economically
meaningless transaction. The STARS transaction was no more than a circular redirection
of cash flows from the U.S. Treasury to BB&T, Barclays, and the U.K. Treasury. The
Court’s determination that STARS lacked economic substance precludes Plaintiff from
establishing the first prong of its defense, as there is no authority, much less substantial,
that supports “a subterfuge for generating, monetizing and transferring the value of
foreign tax credits . . . .” Bank of New York, 140 T.C. at 31; see Stobie Creek, 82 Fed.
Cl. at 706 n.64 (“[N]o substantial authority exists to support recognition of tax results that
are premised on transactions with no appreciable business purpose beyond conferring tax
benefits.”); Long Term Capital Holdings v. United States, 330 F. Supp. 2d 122, 204-05
(D. Conn. 2004) (holding that taxpayer cannot cite authority to support tax treatment
once transaction is deemed to lack economic substance). Because the Court finds that

15
  The 2004 amendment completely eliminated any reduction under § 6662(d)(2)(B) in the case of tax
shelters. See American Jobs Creation Act of 2004, Pub. L. No. 108-357, § 812(d), 118 Stat. 1418, 1577-
81.
16
   Thus, in the situation of a tax shelter, the defenses of adequate disclosure or substantial authority
(standing alone), are insufficient to avoid the imposition of penalties.

                                                  65
      Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 66 of 67



substantial authority does not support the tax treatment claimed by BB&T, the Court need
not address whether BB&T reasonably believed that the tax treatment claimed was more
likely than not the proper treatment. Plaintiff is liable for the 20 percent substantial
understatement penalty. Whether the reasonable cause and good faith exception provides
BB&T with a valid defense to the substantial understatement penalty is addressed below.

                 3. Reasonable Cause and Good Faith

      Section 6664(c)(1) provides an absolute defense to the imposition of any
accuracy-related penalty:

             No penalty shall be imposed under section 6662 or 6663 with
             respect to any portion of an underpayment if it is shown that
             there was a reasonable cause for such portion and that the
             taxpayer acted in good faith with respect to such portion.

The taxpayer bears the burden of showing that this exception applies. Stobie Creek Invs.
LLC v. United States, 608 F.3d 1366, 1381 (Fed. Cir. 2010) (citing Conway v. United
States, 326 F.3d 1268, 1278 (Fed. Cir. 2003)). Reliance on professional advice may
constitute reasonable cause and good faith “if, under all the circumstances, such reliance
was reasonable and the taxpayer acted in good faith.” Treas. Reg. § 1.6664-4(b)(1). In
determining whether a taxpayer has reasonably relied in good faith on advice as to the tax
treatment, all facts and circumstances must be taken into account, including but not
limited to “the taxpayer’s education, sophistication, and business experience[.]” Id. at
§ 1.6664-4(c)(1). Additionally, the advice “must be based upon all pertinent facts and
circumstances and the law as it relates to those facts and circumstances[,]” “must not be
based on unreasonable factual or legal assumptions (including assumptions as to future
events)[,]” and “must not unreasonably rely on the representations, statements, findings,
or agreements of the taxpayer or any other person.” Id. The satisfaction of these
requirements will not necessarily establish that the taxpayer reasonably relied on the
advice in good faith. Id. Reliance is not reasonable, for example, if the adviser has an
inherent conflict of interest about which the taxpayer knew or should have known, or if
the taxpayer knew or should have known that the transaction was “too good to be true.”
Stobie Creek, 608 F.3d at 1382-83 (citing, inter alia, Treas. Reg. § 1.6664-4(c)).

       As discussed above, the unsupportable assumptions upon which the promoters’
advice was based, the conflicts of interest of the STARS promoters, and the BB&T’s
executives’ high level of knowledge and expertise preclude a finding of reasonable
reliance on professional advice. Similarly, the weight of the evidence shows that tax
avoidance was singularly and precisely the goal pursued in execution of the STARS
transaction. Consequently, the Court finds that BB&T did not act with reasonable cause
and good faith with regard to any portion of the underpayment determined.


                                           66
          Case 1:10-cv-00192-TCW Document 229 Filed 09/20/13 Page 67 of 67



       For the foregoing reasons, the Court finds that Plaintiff was engaged in an
economically meaningless tax shelter, that the negligence accuracy-related penalty of
§ 6662(b)(1) and the substantial understatement accuracy-related penalty of § 6662(b)(2)
apply, and that the defenses of reasonable basis, substantial authority, and reasonable
cause and good faith are not available to Plaintiff.

   III.      Conclusion

       The Court finds in favor of Defendant on all grounds. Plaintiff’s claims for tax
refund are DENIED in their entirety. Before entering final judgment, the Court will
conduct a conference with counsel of record on a mutually agreeable date to confirm the
proper amount and terms of the judgment. Pursuant to Rule 54(d), the Court awards
costs to Defendant as the prevailing party.

          IT IS SO ORDERED.

                                               s/Thomas C. Wheeler
                                               THOMAS C. WHEELER
                                               Judge




                                          67
